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                                                                                          2020 Jun-01 AM 11:15
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION

TIARA NANCE,                                       )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                ) Civil Action No. 5:19-cv-00351-CLS
                                                   )
HEALTH CARE AUTHORITY OF                           )
THE CITY OF HUNTSVILLE d/b/a                       )
HUNTSVILLE HOSPITAL HEALTH                         )
SYSTEM,                                            )
                                                   )
       Defendant.                                  )

                               MEMORANDUM OPINION

       Plaintiff, Tiara Nance, asserts claims against her former employer, the Health

Care Authority of the City of Huntsville, Alabama, doing business as the Huntsville

Hospital Health Care System (“the Hospital”),1 for disability discrimination and

retaliation under the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et

seq., as amended (“the ADA”), as well as claims for interference and retaliation under

the Family and Medical Leave Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”). The

case currently is before the court on defendant’s motion for summary judgment.2


       1
         Counsel for the parties discuss a claim for retaliation under the ADA: see doc. no. 24
(Defendant’s Brief in Support of Summary Judgment), at 25-29; doc. no. 29 (Plaintiff’s Brief in
Opposition to Summary Judgment), at 17-18. However, plaintiff’s attorney failed to plead such a
claim as a separate Count of her complaint. This issue is discussed in Part III.B, infra.
       2
           See doc. no. 23 (Defendant’s Motion for Summary Judgment).
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Upon consideration of the motion, briefs, and evidentiary submissions, the court

concludes that the motion should be granted.

                           I. STANDARD OF REVIEW

      Federal Rule of Civil Procedure 56 provides that a court “shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

Supreme Court added a gloss to the language of that Rule, saying that summary

judgment is proper “after adequate time for discovery and upon motion, against a

party who fails to make a showing sufficient to establish the existence of an element

essential to that party’s case, and on which that party will bear the burden of proof at

trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “In making this

determination, the court must review all evidence and make all reasonable inferences

in favor of the party opposing summary judgment.” Chapman v. AI Transport, 229

F.3d 1012, 1023 (11th Cir. 2000) (en banc) (quoting Haves v. City of Miami, 52 F.3d

918, 921 (11th Cir. 1995)). Inferences in favor of the non-moving party are not

unqualified, however. “[A]n inference is not reasonable if it is only a guess or a

possibility, for such an inference is not based on the evidence, but is pure conjecture

and speculation.” Daniels v. Twin Oaks Nursing Home, 692 F.2d 1321, 1324 (11th

Cir. 1983) (alteration supplied). Moreover,

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       [t]he mere existence of some factual dispute will not defeat summary
       judgment unless that factual dispute is material to an issue affecting the
       outcome of the case. The relevant rules of substantive law dictate the
       materiality of a disputed fact. A genuine issue of material fact does not
       exist unless there is sufficient evidence favoring the nonmoving party
       for a reasonable jury to return a verdict in its favor.

Chapman, 229 F.3d at 1023 (quoting Haves, 52 F.3d at 921) (emphasis and alteration

supplied). See also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986)

(asking “whether the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a

matter of law”).

                                           II. FACTS

       Sometime before 2009, plaintiff, Tiara Nance (“Nance”), was diagnosed with

Crohn’s disease: a gastrointestinal disorder that is similar to ulcerative colitis,3 and

one which, in Nance’s case, caused periodic flare-ups consisting of vomiting,

diarrhea, fatigue, and pain in her abdomen and joints.4

       Nance’s first stint of employment with Huntsville Hospital began on some

       3
         See doc. no. 25-1 (Plaintiff’s Deposition), at 26-27 (speculating that she was diagnosed with
Crohn’s disease “[m]aybe before” 2009) (alteration supplied). Crohn’s disease and ulcerative colitis
present almost identical symptoms. See Jenna Fletcher & Elaine K. Luo, M.D., What Is the
Difference Between Crohn’s Disease and Ulcerative Colitis?, Medical News Today (June 6, 2017),
https://www.medicalnewstoday.com/articles/317792 (last visited May 8, 2020). See doc. no. 29-8
(FMLA Medical Leave Certificate), at 5 (noting a diagnosis of ulcerative colitis in 2010).
       4
         See doc. no. 25-1 (Plaintiff’s Deposition), at 59-60; doc. no. 29-1 (Notes from Nance’s Oct.
26, 2017 visit to Dr. John Kaliszak), at 3 (noting abdominal pain, joint pain, and myalgia in the hip
girdle and shoulders).

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unspecified date prior to the end of June 2009. She was hired to work as a radiology

tech assistant for twelve hours on Saturdays and Sundays.5 She did not consistently

comply with even those part-time work requirements, however, as demonstrated by

the written warning issued on July 26, 2009, stating that Nance had accumulated six

unscheduled absences and warning that she would be terminated if she accrued three

more.6 Nance did not apply for FMLA leave during that initial period of employment,

because she had not been employed by the Hospital for a sufficient period to qualify

for coverage under the Act.7

       Nance voluntarily resigned her part-time position on or about October 19,

2009, citing the difficulties of balancing the responsibilities of school, employment,

and child care.8 Notably, she did not say that health issues played any part in either

       5
          See doc. no. 25-1 (Plaintiff’s Deposition), at 24-25.        Nance’s duties consisted of
transporting patients to-and-from the radiology labs. Id. at 25.
       6
         See id. at 25-26; doc. no. 25-2 (July 26, 2009 “Final Warning” stating, inter alia, that
“Further instances of unscheduled absences or late arrival to work or from break may result in
termination”; and that, “If she reaches 9 absences she will be terminated.” (emphasis in original)).
       7
           See doc. no. 25-1 (Plaintiff’s Deposition), at 27-28. The Family and Medical Leave Act
defines an “eligible employee” as “an employee who has been employed — (i) for at least 12 months
by the employer with respect to whom leave is requested under section 2612 of this title; and (ii) for
at least 1,250 hours of service with such employer during the previous 12-month period.” 29 U.S.C.
§ 2611(2)(A).
       8
        Nance gave two weeks notice of her intent to resign in the following, October 5, 2009 email
to Kim Lamb, Clinical Operations Manager of the Hospital’s Imaging Services:

       I thank you so much. I am writing to let you [know] I am putting in my two weeks
       notice. I will know [sic] longer be employed in your department after two weeks.
       I have had a great time working with my fellow co-workers and realize that [sic] are
       very nice, hard-working, and dedicated people. I have had to take on a lot of

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her failure to comply with her work schedule, or her decision to resign.9

       Nearly six years later, in September 2015, Huntsville Hospital offered to re-

employ Nance as a full-time scheduler in the Pain Management Department.10 After

accepting the offer, Nance completed an “Employee Health Screen” which disclosed

that she had a history of anxiety and colitis,11 “a chronic digestive disease

characterized by inflammation of the inner lining of the colon. . . . There are many

different forms of colitis, including Ulcerative colitis and Crohn’s disease.”12

Nance’s responses to other questions on the Hospital’s Employee Health Screen


       different matters this past semester with school, work, and my son, and also being
       part of the Social Work Club and it has become stressful at this point. I really do
       appreciate what you have done for me as a Manager and really do thank you for being
       there for me when I need you. I really do hate that I have to leave yall [sic] but it’s
       just for the best of my interest right now. I hope to see you around and have a good
       year.

Doc. no. 25-3 (emphasis supplied). See also doc. no. 25-1 (Plaintiff’s Deposition), at 28-32.
       9
         See doc. no. 25-1 (Plaintiff’s Deposition), at 34 (where Nance is questioned about why she
did not mention medical or health issues as a reason for resigning her position in the email quoted
in the preceding note, and she responded: “I didn’t feel like it was that much of an issue.”).
       10
            See id. at 46-48, 54-55.
       11
          See doc. no. 25-4 (Sept. 21, 2015 Employee Health Screen Form), at 3 (attributing anxiety
to the fact that her brother had been murdered two years ago, and stating with respect to Colitis
“Azathioprine.” That handwritten reference is intriguing, because “Azathioprine” is a drug that is
used to prevent a person’s body from rejecting a transplanted kidney, and to treat symptoms of
rheumatoid arthritis, but it also “may cause a rare type of lymphoma (cancer) of the liver, spleen, and
bone marrow that can be fatal. This has occurred mainly in teenagers and young men with Crohn’s
disease or ulcerative colitis.” Azathioprine, Drugs.com, https://www.drugs.goc/mtm/azathioprine.
html (emphasis supplied) (last visited May 16, 2020).
       12
           Colitis, The George Washington U. Hosp., https://www.gwhospital.com/conditions-
services/digestive-disorder-center/colitis (last visited May 16, 2020). See also the publication cited
in note 3, supra.

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confirmed that she did not require physical accommodations, and that no restrictions

upon her activities had been prescribed by a physician.13

         Nance also executed a form affirming her understanding that employment by

the Hospital required her to conform to fifteen “Standards of Behavior,” including

these:

         Attitude
         We are committed to improving health care through a positive approach
         to meeting our customers’ needs. Our customers include patients,
         families, physicians, co-workers, and any other people with whom we
         interact during our time at work.

         ....

         Communication
         Communication is a vital aspect of our interaction with all customers.
         We must be committed to listening attentively to our customers in order
         to provide the excellent care and service that is expected. We will
         reflect patience, understanding, honesty, and respect in both verbal and
         non-verbal communications.

Doc. no. 25-5 (Standards of Behavior Acknowledgment), at 2.14

         Approximately two months after beginning her second stint of employment

with the Hospital, Nance transferred to a “PRN Scheduler” position, which essentially

meant that she became an employee who “floated,” and filled-in at different positions

         13
          See doc. no. 25-4 (Sept. 21, 2015 Employee Health Screen Form), at 2; see also doc. no.
25-1 (Plaintiff’s Deposition), at 46-47, 49.
         14
          See also doc. no. 25-1 (Plaintiff’s Deposition), at 51-52. Nance also acknowledged that
she reviewed the Hospital’s “Employee Handbook” during orientation. See id. at 49-50; doc. no. 25-
6 (Verification of Attendance at Hospital Orientation).

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on an “as-needed” basis.15 While working in that capacity, she received accolades

from a supervisor and patient.16 Less than four months after assuming the PRN

Scheduler position, however, Nance transferred back to a full-time Scheduler position

in (she thinks “it could have been”) the Medical Records Department.17

        Nance received her first performance appraisal as a “Provisional Employee”

on July 5, 2016. As shown in the following table, she was graded on fifteen

“Standards of Behavior” with a three-point scale on which: “1” indicated that her

behavior did “Not Meet[] Expectations”; “2” signified that her performance “Meets

Expectations”; and “3” meant that her behavior “Exceed[ed] Expectations.”18

                                                                                   Provisional Employee
                                                                             Annual      Progressing as
 Standards of Behavior                                                      Evaluation     Expected?



        15
         See doc. no. 25-1 (Plaintiff’s Deposition), at 55-57 (Nance remembers the days and hours
of work as remaining the same, but her pay was increased 20.9%, from $11.00 to $12.30 an hour).
        16
         See doc. no. 29-4 (Plaintiff’s Exhibit 4), at 2 (Feb. 26, 2016 note from supervisor Susan
Manning thanking Nance for “Offering Excellent Customer Service”); and id. at 3 (Feb. 24, 2016
note from (apparently) a patient named Barbara Calloway, to Supervisor Manning), reading:

        I would like to give accolades to Tiara Nance on behalf of all the patients that she
        helps in the time of their needs. She is very nice, friendly, and empathetic toward all
        the people she accommodates in her job. The Tennessee Valley Pain Consultants are
        very fortunate to have her.
        17
             See doc. no. 25-1 (Plaintiff’s Deposition), at 57-58.
        18
           Doc. no. 25-7 (July 5, 2016 Performance Appraisal), at 3 (alteration supplied). Even
though the numerical scores were recorded in a column labeled “Annual Evaluation,” Nance had not
then been re-employed by the Hospital for a full year. Even more confusing are these facts: the form
stated at the top of the initial page that the “Information on this page is as of 05/16/2016,” and that
the appraisal was to be returned to “HR by July 8, 2016,” but the “Effective Date” typed at the
bottom of that same page was “August 14, 2016.” Id. at 2.

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 ATTITUDE (Treats everyone with respect, good listener, attentive, apologetic for
 problems or inconvenience)                                                                 1.75   G Yes G No

 AVAILABILITY (attendance, promptness, availability for relief and holiday shifts,
 willingness to come in when called)                                                        1.75   G Yes G No

 APPEARANCE (neatness and professional attire appropriate for position, personal
 hygiene is a priority)                                                                     2.00   G Yes G No

 INITIATIVE (consistently prepared, able to recognize a task anmd perform it, contributes
 ideas)                                                                                     1.75   G Yes G No

 FOLLOW THROUGH (completes job tasks assigned within defined timeline)                      1.75   G Yes G No

 JUDGMENT (considers options, able to recognize problems and solve them, makes
 sound and informed decisions)                                                              1.75   G Yes G No

 INFLUENCE (communicates objectives, motivates others, promotes teamwork and
 maintains morale. Takes an active rule in staff meetings)                                  1.50   G Yes G No

 HOSPITAL POLICIES (knows, understands, and follows the policies of the hospital and
 department)                                                                                2.00   G Yes G No

 CLEANLINESS (keeps up with daily cleaning, cleans up after him/herself, takes personal
 responsibility for department’s appearance)                                                2.00   G Yes G No

 COMMUNICATION (approachable, responsive and easy to understand. Clarifies
 requests and responds clearly and in a timely manner)                                      2.00   G Yes G No

 INTRA-STAFF RELATIONS (promotes a cooperative working environment.
 Understands the value of teamwork and shows an enthusiasm and willingness to help
 others and the hospital function as a unit. Encourages and assists new staff members)      1.50   G Yes G No

 CUSTOMER/EXTERNAL RELATIONS (promotes collaborative customer relations,
 anticipates customer needs and offers assistance before required or asked for)
                                                                                            2.00   G Yes G No

 PROFESSIONAL GROWTH (attends local, state, and/or national CE meetings, keeps up
 to date on current procedures and licensures/certifications, and completes mandatory
 requirements within defined timeframe)                                                     2.00   G Yes G No

 PRIVACY (ensures patient/co-worker/employee confidentiality, follows HIPAA
 guidelines – if patient care: protects patient dignity, communicates with patient and/or
 family in private)                                                                         2.00   G Yes G No

 SAFETY (takes personal responsibility to ensure a safe working environment)                2.00   G Yes G No

 Average Standards of Behavior Score (Total Score / 15)                                     1.85


Doc. no. 25-7 (July 5, 2016 Performance Appraisal), at 3.

         As shown in the foregoing table, Nance’s two lowest scores (both 1.50) were

in the behavioral categories of “influence” and “intra-staff relations.” She received

five additional scores below 2.0 (each 1.75) in the behavioral categories of “attitude,”

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“availability,” “initiative,” “follow through,” and “judgment.” Her eight remaining

scores were 2.0, meaning that her conduct in those behavioral categories merely met

expectations. Her average score of 1.85 indicated that, overall, her Standards of

Behavior did not meet expectations. The manager who completed the July 5, 2016

appraisal graded Nance’s performance of “essential job functions” as 1.95, which

resulted in a “Final Evaluation Score” of 1.90:19 still below “Meets Expectations.”

Nevertheless, the grading manager commented that Nance had “done well in her

position as Physician Office representative/check out,” and noted that she had been

“cross trained to work check in and registration.” Nevertheless, she forewarned

Nance to “be mindful of her interactions with coworkers and steer clear of office

gossip.”20

       Six months later, Nance transferred, “effective January 15, 2017,” to a part-

time position in the Hospital’s Reference Lab.21 She testified that she needed to work

fewer hours due to “flare-ups” of her Crohn’s disease, which produced bouts of

vomiting, diarrhea, and fatigue.22


       19
         The sum of the 1.85 “Standards of Behavior Average” score plus the 1.90 “Essential Job
Functions” score (3.80) divided by 2 = 1.90.
       20
            Id. at 3.
       21
         See doc. no. 25-1 (Plaintiff’s Deposition), at 58 (Nance confirms a Hospital document
recording her “transfer from Pain Management to Ref Lab, effective January 15, 2017”).
       22
         Id. at 58-59. She was treated at that time by Dr. Rodney Morris, her general care physician,
as opposed to a specialist. Id. at 60-61.

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         Nance received her second performance appraisal from her Reference Lab

supervisor on June 23, 2017.23 Unlike the previous July 5, 2016 appraisal, Nance was

not assigned numerical grades in the fifteen “Standards of Behavior” categories

because she still was in her “provisional period” of employment within the Reference

Lab when the review took place. (The Hospital’s Employee Relations Specialist,

Cynthia Traylor, testified that: “When a hospital employee starts a new position, they

are placed in a one (1) to six (6) month provisional period, depending on performance

issues, so that managers can determine if the employee is fulfilling the expectations

of the position and is a good fit.”24) Thus, her Reference Lab supervisor simply noted

by check-marks placed in boxes labeled “Yes” or “No” whether, as a “Provisional

Employee,” Nance was “Progressing as Expected.”

                                                                                                   Provisional Employee
                                                                                             Annual      Progressing as
 Standards of Behavior                                                                      Evaluation     Expected?

 ATTITUDE (Treats everyone with respect, good listener, attentive, apologetic for
 problems or inconvenience)                                                                               T Yes G No

 AVAILABILITY (attendance, promptness, availability for relief and holiday shifts,
 willingness to come in when called)                                                                      T Yes G No

 APPEARANCE (neatness and professional attire appropriate for position, personal
 hygiene is a priority)                                                                                   T Yes G No

 INITIATIVE (consistently prepared, able to recognize a task anmd perform it, contributes
 ideas)                                                                                                   T Yes G No

 FOLLOW THROUGH (completes job tasks assigned within defined timeline)                                    T Yes G No


         23
          See doc. no. 25-8 (June 23, 2017 Performance Appraisal), at 4; see also id. at 2 (stating that
the “Information on this page is as of 04/10, 2017,” the appraisal was to be returned “to HR by July
7, 2017,” and that the “Effective Date” was “August 13, 2017”).
         24
              Doc. no. 25-13 (Cynthia Traylor Affidavit), ¶ 7.

                                                             10
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 JUDGMENT (considers options, able to recognize problems and solve them, makes
 sound and informed decisions)                                                                     G Yes T No

 INFLUENCE (communicates objectives, motivates others, promotes teamwork and
 maintains morale. Takes an active rule in staff meetings)                                         T Yes G No

 HOSPITAL POLICIES (knows, understands, and follows the policies of the hospital and
 department)                                                                                       T Yes G No

 CLEANLINESS (keeps up with daily cleaning, cleans up after him/herself, takes personal
 responsibility for department’s appearance)                                                       T Yes G No

 COMMUNICATION (approachable, responsive and easy to understand. Clarifies
 requests and responds clearly and in a timely manner)                                             G Yes T No

 INTRA-STAFF RELATIONS (promotes a cooperative working environment.
 Understands the value of teamwork and shows an enthusiasm and willingness to help
 others and the hospital function as a unit. Encourages and assists new staff members)             T Yes G No

 CUSTOMER/EXTERNAL RELATIONS (promotes collaborative customer relations,
 anticipates customer needs and offers assistance before required or asked for)                    T Yes G No

 PROFESSIONAL GROWTH (attends local, state, and/or national CE meetings, keeps up
 to date on current procedures and licensures/certifications, and completes mandatory
 requirements within defined timeframe)                                                            T Yes G No

 PRIVACY (ensures patient/co-worker/employee confidentiality, follows HIPAA
 guidelines – if patient care: protects patient dignity, communicates with patient and/or
 family in private)                                                                                T Yes G No

 SAFETY (takes personal responsibility to ensure a safe working environment)                       T Yes G No

 Average Standards of Behavior Score (Total Score / 15)                                     0.00


Doc. no. 25-8 (June 23, 2017 Performance Appraisal), at 3.

         Nance’s Reference Lab manager checked “No” on only two of the fifteen

behavioral categories (“judgment” and “communication”), and her comments on

Nance’s performance of “Essential Job Functions” were a mixed bag of some positive

statements, along with warnings that a wise reader should have heeded:

         Tiara is a very confident person and she does her job at an acceptable
         level. However, her attitude can sometimes come across as bossy or too
         aggressive for her co-workers. Tiara has gained compliments for her
         assistance to patients.

         ....

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       Accomplishments this year have been:
       Tiara is willing to learn and always promotes customer service to
       patients.

       Employee’s greatest strength:
       Tiara’s friendly personality can be useful in her customer service role as
       the front desk person.

       Areas in which you would like to see improvement over the next
       year:
       Tiara is very sociable. She should become a little less talkative to avoid
       distraction to her co-workers. Tiara should always remain professional
       while talking to patients/co-workers on the phone.

Id. (emphasis supplied).25 Overall, the Reference Lab manager indicated by checks

in boxes labeled “Yes” that Nance had “successfully completed [her] provisional

period”; that she was “rated [as] ‘progressing on track’”; and, that her “Provisional

period ends.”26

       Thus, despite her illness, Nance was able to perform her Reference Lab job

duties sufficiently well to successfully complete her provisional period.27 Indeed,

before Nance became eligible for FMLA leave, she worked through approximately



       25
        Despite the emphasized warnings, Nance did not receive counseling from her Reference
Lab manager. See doc. no. 25-1 (Plaintiff’s Deposition), at 71.
       26
            Doc. no. 25-8 (June 23, 2017 Performance Appraisal), at 4 (alteration supplied).
       27
         Compare doc. no. 25-1 (Plaintiff’s Deposition), at 72-73 (testifying that Crohn’s disease
never caused Nance any problems with performing her job duties while working in the Reference
Lab) with doc. no. 25-8 (June 23, 2017 Performance Appraisal), at 4 (stating that “Employee has
successfully completed their provisional period,” and that “Employee rated ‘progressing on track’.
Provisional period ends”).

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six flare-ups of her Crohn’s disease, and still performed her job duties.28

       Nance’s Reference Lab supervisor notified her on September 20, 2017 that, due

to patient volume, she needed to transfer Nance to a second-shift position in Central

Processing.29 Childcare responsibilities prevented Nance from accepting the transfer,

however, and she therefore sought another first-shift position in registration.30

       Mutual of Omaha Insurance Company, the third-party administrator of the

Hospital’s FMLA policies,31 mailed a letter to Nance on September 29, 2017, stating

that her application for intermittent FMLA leave had been approved.32 That entitled

her to be absent from work once each month for one treatment or medical

appointment “lasting up to 1 day(s) per treatment/appointment,” and also to as many

as “18 episodic incapacitation(s) per year lasting up to 3 day(s) per episode.”33 Nance

believed that those accommodations were adequate to cover any absences that might

be caused by her medical conditions.34

       Nance estimates that, on the date she submitted her application for intermittent

       28
            See doc. no. 25-1 (Plaintiff’s Deposition), at 96-99.
       29
            See id. at 73-75.
       30
         Id.; see also doc. no. 25-9 (Sept. 20, 2017 Statement signed by Amy Puryear, Monique
Thatch, and Rhonda Atkins).
       31
            See doc. no. 25-1 (Plaintiff’s Deposition), at 199.
       32
         See doc. no. 25-10 (Mutual of Omaha Letter Approving FMLA Leave); see also doc. no.
25-1 (Plaintiff’s Deposition), at 75-77.
       33
            See doc. no. 25-10, at 2 (Mutual of Omaha Letter Approving FMLA Leave).
       34
            See doc. no. 25-1 (Plaintiff’s Deposition), at 77.

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FMLA leave, she had been experiencing flare-ups every two or three months, and that

each episode lasted two to three days.35 Her symptoms generally consisted of nausea,

vomiting, fatigue, stress, and depression from not being able to eat.36 Treatment

included rest and, occasionally, receiving an intravenous infusion to restore fluids to

her dehydrated body (“rehydration”).37 Nance was homebound during her flare-ups,

and required assistance to run errands and care for her children.38 She was able to

bathe, but even that activity was tiring. The physician who certified her FMLA-leave

application stated that she was “not able to perform any job duties during a flare-

up.”39

         Nance submitted an application to transfer to a position in the Hospital’s

Registration Unit on or about October 5, 2017, and was selected to fill it.40 Her

application stated that her preference was to work thirty-two or more hours (“32+



         35
              See id. at 81-82.
         36
              See id. at 82.
         37
              See id. at 82-83.
         38
         See id. at 83-84. Nance testified that she attempted to rest through the pain, but her
stomach generally was in “[k]nots like it’s firing.” Id. at 84 (alteration supplied).
         39
           Doc. no. 29-8 (Sept. 27, 2017 FMLA Medical Leave Certificate from Dr. Anthony
Ughouke), at 5. But see doc. no. 25-1 (Plaintiff’s Deposition), at 129 (record from Dr. Kaliszak’s
office stating that Nance “presenting with abdominal pain. It’s described as intermittent and sharp.
The symptom is ongoing. The symptoms started in adulthood but complaint does not limit activities.
. . .”).
         40
           See doc. no. 25-11 (Oct. 2017 Registration Rep II Application); see also doc. no. 25-1
(Plaintiff’s Deposition), at 89-90.

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up”) each week on the day shift,41 but the position awarded was full-time, requiring

Nance to work forty hours a week. Nance testified that it had not been explained to

her during the interview that she would be expected to work a full, forty-hour week.42

Consequently, approximately two weeks after being offered the position, Nance

requested yet another transfer, saying that her Crohn’s disease made it “too much on

[her] body” to work more than part-time.43

       Nance then applied for transfer to a part-time position as a “registration

representative” in the Main Admitting unit in the Hospital’s Medical Tower on

Governor’s Drive.44 The Registration Unit Manager, Heidi Brown,45 interviewed

Nance and awarded the position to her.46 Brown did so, despite being told by Nance

during her initial interview that she suffered from Crohn’s disease.47 It should be

noted, however, that Nance did not tell Brown that she then was on FMLA leave, and


       41
          See doc. no. 25-11 (Oct. 2017 Registration Rep II Application), at 3, ¶¶ 9 & 10; see also
doc. no. 25-1 (Plaintiff’s Deposition), at 99-100.
       42
         See doc. no. 25-1 (Plaintiff’s Deposition), at 90-91; see also doc. no. 25-12 (Nance Fact
Sheet compiled by Rachel Tew, Entries for Oct. 5, 6, & 25 2017).
       43
            See doc. no. 25-1 (Plaintiff’s Deposition), at 92-95 (alteration supplied).
       44
            Id. at 101-02.
       45
            See doc. no. 25-14 (Heidi Brown Affidavit), ¶ 2.
       46
            See doc. no. 25-1 (Plaintiff’s Deposition), at 102, 104-05.
       47
          See doc. no. 25-14 (Heidi Brown Affidavit), ¶ 4 (“I knew that Nance had Crohn’s disease
when I hired her because she volunteered that information in her job interview.”). Nance testified
during deposition that she also told Ms. Brown during her job interview that she might need time off
for intravenous infusions, and the expected dates of such procedures. See doc. no. 25-1 (Plaintiff’s
Deposition), at 103-05.

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Nance acknowledged that Hospital managers, like Ms. Brown, likely did not have

access to her FMLA records that were maintained by the third-party administrator,

Mutual of Omaha Insurance Company.48

       Heidi Brown’s Affidavit explained the duties and work schedule of the position

awarded to Nance as follows:

              5.      As a registration representative, Nance was expected to
       provide excellent customer service to patients; work with other
       registration representatives; escort families who arrive at the hospital to
       the proper location; answer phone calls; check-in patients; and inform
       clinical staff that patients have arrived.

             6.     Nance worked approximately 26 hours per week, with
       Wednesdays off. If she worked more than 6 hours [in a day], Nance was
       required to take a lunch break. Nance was allowed 30 minutes for
       lunch. If she was unable to take a lunch because of work duties, Nance
       was required to notify her supervisor so that she could receive
       compensation.

              7.    On a few limited occasions, Kristi Calvert, the unit
       coordinator, or I asked Nance if she could fill in for other employees.
       Her agreement to do so was completely voluntary and Nance was never
       threatened with any discipline if she was not able to work additional
       hours. Nance never told me that she had any restrictions from any
       physician limiting the number of hours per week that she could work.

Doc. no. 25-14 (Heidi Brown Affidavit), ¶¶ 5-7 (alterations supplied).

       Marilyn Pruitt trained Nance on the duties of her new position in registration,


       48
         See doc. no. 25-1 (Plaintiff’s Deposition), at 201-03; see also doc. no. 25-14 (Heidi Brown
Affidavit), ¶ 20 (“I am not involved in approving or granting FMLA leave for employees. I had no
knowledge as to whether Nance was using FMLA leave.”).

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and afterwards told Kristi Calvert, the Main Admitting Unit Coordinator,49 that Nance

“came across” as “agitated and impatient when dealing with patients.”50 Another

Hospital employee, Kim Carroll, complained to Calvert that Nance “was negative,”

and always was “trying to start drama.”51 As a result of such criticisms, Calvert

counseled Nance “about being nice and getting along with other employees.”52 She

also relayed the criticisms to Heidi Brown.53

       In December of 2017, Heidi Brown and Kristi Calvert witnessed Nance texting

on her cell telephone while she was working at the front desk.54 Brown counseled

Nance, “and reminded her of Huntsville Hospital’s cell phone policy which states that

representatives may use cell phones only in break rooms during break time.”55

       Nance sent the following text message to Kristi Calvert on Monday, December

4, 2017, informing her that she was experiencing a flare up of her Crohn’s disease,

and likely would not be able to work the following day: “Hey lady I’m still not

       49
            See doc. no. 25-15 (Kristi Calvert Affidavit), ¶ 2.
       50
            Id. ¶ 5.
       51
            Id. ¶ 6.
       52
            Id.
       53
            See id. ¶ 7.
       54
          See id. ¶ 8; doc. no. 25-14 (Heidi Brown Affidavit), ¶ 8. Nance contends, however, that
she was not behind the desk during the referenced incident, but instead was packed up and waiting
to clock out. Doc. no. 25-1 (Plaintiff’s Deposition), at 142-43. Nance also contends that she
regularly observed other employees using their cell telephones at the front desk, but admits she never
reported any such misconduct to Heidi Brown or any other supervisor. Id. at 143-44.
       55
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 8.

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feeling to [sic] well, so wanted to let you know I may not be at work tomorrow, sorry

[i]t sucks having [Crohn’s].”56 Calvert’s response requested merely that Nance “let

[her] know for sure at least two hours before” she was scheduled to report to work,

and added: “Feel better.”57

       Brown learned on Thursday, December 14, 2017, of a critical review of the

Hospital’s Outpatient Surgery Unit that had been posted on “Google,®” and which

stated that a registration employee had been “rude and unhelpful.”58                        Brown

questioned Nance and Brianna Cave, another Registration Unit employee, asking

whether either recalled the incident described. Both denied any knowledge of it.59

       Nance had been scheduled to relieve Cave shortly after she was questioned by

Brown, but she failed to do so. “Cave reported that Nance was gone for over an hour

and could not be located.”60 When Brown confronted Nance about her extended

absence, Nance said she had become “sick to her stomach” when questioned about

       56
         See doc. no. 29-7 (Text Messages Between Nance and Calvert), at 2 (alterations supplied).
See also doc. no. 25-1 (Plaintiff’s Deposition), at 123-24.
       57
          Doc. no. 29-7 (Text Messages Between Nance and Calvert), at 2-3 (alterations supplied);
see also doc. no. 25-1 (Plaintiff’s Deposition), at 123-24.
       58
         See doc. no. 25-14 (Heidi Brown Affidavit), ¶ 10; see also doc. no. 25-16 (Email
Containing Google Review), at 5.
       59
            See doc. no. 25-1 (Plaintiff’s Deposition), at 139-42.
       60
           Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 10. Nance agreed during her deposition that
she was gone “for a long period of time,” but contends that she told her co-worker she was “going
to the bathroom.” See doc. no. 25-1 (Plaintiff’s Deposition), at 144-45. After going to the bathroom,
however, Nance states that she relieved another employee (but not Cave) in MRI registration. Id.
She offered no explanation or justification for that.

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the negative Google review,61 and that she was “uncomfortable around” Brown, not

just because Brown was “her boss” and she was “scared” of her, but also “because

[Brown] had a resting bitch face.”62 Brown “was shocked by Nance’s highly

inappropriate comment,”63 but did not discipline her.

       At 5:36 p.m. on Monday of the following week, December 18, 2017, Nance

sent a text message to Kristi Calvert saying that she had “meant to send [an earlier]

email but we was so busy” that she had failed to do so.64 Nance then added that she

would “be a little late to work” on the following Thursday, December 21, 2017,

because she had a doctor’s appointment at 9:45 a.m.65 Calvert replied that: “We

usually need more notice but I’ll adjust your schedule to 11 if you think that’ll give

you enough time.”66 On Thursday morning, however, Nance sent another text

message to Calvert stating that she likely would be later than 11 a.m., because “it’s

just the holidays,” and the doctor’s office was “swamped.”67 Calvert responded that,
       61
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 11; see also doc. no. 25-1 (Plaintiff’s
Deposition), at 145-46. Nance later said that her “stomach actually had been upset all day, morning.”
Id. at 146.
       62
         Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 11 (alterations and emphasis supplied). See also
doc. no. 25-1 (Plaintiff’s Deposition), at 146-47 (where Nance says that she was attempting to
express her impression that Heidi Brown possessed an “unpleasant facial expression”: one that
conveyed a visual “I-don’t-want-to-talk-to-you” message).
       63
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 11.
       64
            Doc. no. 29-7 (Plaintiff’s Exhibit 7), at 5.
       65
            Id.
       66
            Id. Nance replied “Yes sorry I so forgot after being busy and thanks so much.” Id.
       67
            Id. at 7 (alteration supplied).

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if Nance did not report to work by 11:00 a.m., it would have to be recorded as “a

tardy,” but she added this apology: “Sorry we can’t make adjustments to the schedule

last minute. We have to follow policies.”68 Plaintiff replied “No worries”69 — most

likely because she knew the appointment would be covered by her previously-

approved intermittent FMLA leave: a fact of which Calvert had no knowledge.70

       The following day (Friday, December 22, 2017), Heidi Brown delivered

Nance’s one-to-three month “Provisional Performance Appraisal,” which recorded

that Nance needed to improve her conduct in four of the seven behavioral areas on

which Registration Unit employees were graded.71 Brown also noted that

       Hospital staff and co-workers perceive Tiara [as] being negative. Tiara
       has made several negative comments about the job and not wanting to
       be at work. She has tried to engage in several negative conversations
       with co-workers. Co-workers stated they’ve had a hard time working
       with Tiara do [sic] to the failed Standards of Behavior listed above.

Doc. no. 25-18 (Provisional Performance Appraisal), at 2 (alteration supplied).

Despite those stated concerns, Brown noted that Nance met all job performance

       68
            Id.
       69
            Id.
       70
         See doc. no. 25-15 (Kristi Calvert Affidavit), ¶ 11 (testifying that she was neither “involved
in approving employees to take FMLA leave,” nor aware of whether Nance “had applied for or was
using FMLA leave to cover any of her absences”). See also id. ¶ 12 (testifying that Calvert “did not
hear anyone say anything about Ms. Nance being disabled or having Crohn’s disease”).
       71
          The Standards of Behavior specified as “Needs Improvement” were: “Performance is
reflected in a friendly and respectful attitude”; “Communication with patients, customers, and co-
workers is vital”; “Commitment to co-workers”; and “Pride and ownership in your job and the
organization.” Doc. no. 25-18 (Provisional Performance Appraisal), at 2.

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expectations.72 Brown also continued Nance’s provisional employment, but not

without adding the following warnings:

      Strengths: Tiara has adapted really well to the registration functions
      which has allowed her to work in our GMT Surgery area.

      Areas for Improvement: Tiara needs to drastically improve the
      Standards of Behavior which were marked “needs improvement” in
      section two listed above.[73]

      Goals: Tiara should strive to refrain from any negative conversations
      or comments. Tiara needs to follow Huntsville Hospital Standards of
      behavior at all times.

      Manager Comments:
      I am continuing Tiara’s provisional period to give her time to show great
      improvement with all areas listed above. Any further negative behavior,
      comments or not adhering to Huntsville Hospital Standards of Behavior
      will result in termination.

Id. at 3 (boldface in original, italicized emphasis supplied).

      Nance admitted her receipt and understanding of Brown’s performance

appraisal, and presciently acknowledged her understanding of the following

statements by placing a check-mark next to each:

      [T] I have read my performance review and job description and am
      qualified to perform the functions listed with or without
      accommodations.

      [T] I understand that I am not eligible to transfer to another position

      72
           Id.
      73
           See note 71, supra.

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       within HH Health System until I have satisfactorily completed one year
       of service in my current position or I have obtained my manager’s
       permission.

Id. at 4.

       Eight days later, on Saturday, December 30, 2017, Nance transmitted a text

message to Heidi Brown stating: “I just wanted to let you know I appreciate all that

you do and that’s for being a Real understanding boss 100!!! Have a Happy New

Year.”74 Nance testified that, on the date of transmitting that message, she believed

Brown was “a Real understanding boss.”75

       Five days after that, i.e., on Thursday, January 4, 2018, Nance sent an email

message to Brown asking about the status of another person’s job application, and

adding this compliment: “I also told her [the applicant] that you was [sic] very

professional and outstanding boss that goes above and beyond!”76

       Brown, however, continued to hear complaints about Nance from other

employees in the Registration Unit. Registrar Kelsey Kemp and Brianna Cave each

told Brown that Nance “often complained that she did not want to come to work.”77



       74
       Doc. no. 25-19 (Communication Between Nance and Brown), at 3; doc. no. 25-14 (Heidi
Brown Affidavit), ¶ 22.
       75
            See doc. no. 25-1 (Plaintiff’s Deposition), at 152-53.
       76
       Doc. no. 25-19 (Communication Between Nance and Brown), at 2; doc. no. 25-14 (Heidi
Brown Affidavit), ¶ 22. See also doc. no. 25-1 (Plaintiff’s Deposition), at 154-56.
       77
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 12.

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Kim Carroll told Brown that Nance “was always talking negative[ly] about the job,

her co-workers and her leadership team and she couldn’t listen to it anymore.”78

       During the same time period of early January 2018, Nance experienced more

flare-ups of her Crohn’s disease. She transmitted text messages to Kristi Calvert on

Wednesday, January 3, and again on the following Monday, January 8, 2018, stating

that she could not work on those days.79

       Three days later, i.e., on Thursday, January 11, 2018, Jennifer Garner-Haynes

(Nance’s Registration Unit Team Leader) reported to Brown that she had asked

Nance and Kim Carroll to go to another floor of the Hospital, and to there obtain the

signatures on admission forms of some patients who had been directly admitted to a

Hospital unit.80 Garner-Haynes said that, in response, Nance “rolled her eyes and

stated that she didn’t want to go.”81 “Instead,” she “sat in the office complaining and

talking negatively about leadership and having to get signatures.”82 Garner-Haynes

       78
            Id. ¶ 13 (alterations added).
       79
          See doc. no. 29-7 (Text Messages between Nance and Calvert), at 8 (Jan. 3, 2018 message
stating, “Morning I [won’t] be able to make it to work I’m very sick”) (alteration supplied); id. (Jan.
8, 2018 message stating, “I’m not sure if I will make it tomorrow [at] 5am or [at] all I’m sick”). See
also doc. no. 25-1 (Plaintiff’s Deposition), at 131-35.
       80
            See doc. no. 25-1 (Plaintiff’s Deposition), at 158-61.
       81
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 15.
       82
          Doc. no. 25-17 (Jennifer Garner-Haynes Affidavit), ¶ 7 (alteration added); see also id. ¶
5 (“I complained to Heidi Brown that I learned Nance had been talking negatively about her bosses
to another coworker.”). Nance disputed the description of events reported in the text accompanying
this footnote, and states that she obtained the signatures, and that it actually was Kim Carroll who
complained and gossiped about Heidi Brown and Jennifer Garner-Haynes. See doc. no. 25-1

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also reported that Nance “was not always friendly with patients.”83

       As a result of the increasing number of negative reports about Nance’s

behavior, Heidi Brown conferred with Kristi Calvert, the Main Admitting Unit

Coordinator, on Thursday, January 11, 2018, and they jointly concluded that Nance

“was not a fit with our department and [they] decided to fail her provisional period.”84

       Brown met with Nance later that same day, and offered her “the opportunity

to resign her employment in lieu of termination, to make it easier for her to find

another position within the hospital.”85

       Nance says that Brown remarked during their termination meeting that her

“body language” indicated the Registration Unit position was too stressful “on

[Nance’s] body,” and was hindering her performance.86 Brown denied that, saying


(Plaintiff’s Deposition), at 158-61. Nance also specifically denied that she refused to obtain patient
signatures, but admits that Garner-Haynes lodged that claim with Brown. Id. at 161.
       83
            Doc. no. 25-17 (Jennifer Garner-Haynes Affidavit), ¶ 6.
       84
          Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 15 (alteration supplied). See also doc. no. 25-15
(Kristi Calvert Affidavit), ¶ 10.
       85
          Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 16; see also doc. no. 25-1 (Plaintiff’s
Deposition), at 162 (where Nance incoherently states that Brown “told me she didn’t want to
terminate me because I had been there for quite a long time and she didn’t want me to, you know,
lose my ETO [presumably, “Earned Time Off”] or something like in three months provision, like
you could still find a job within the hospital. But I would have to go to HR and they would have to
help me”) (alteration added).
       86
         See doc. no. 25-1 (Plaintiff’s Deposition), at 162-63 (“She told me my body language, had
somebody watching me and said she felt like that the job was too much stressful on my body and it
was hindering me from doing my job.”); id. at 165-66 (“Q. And that’s what she said, too much stress
on your body? A. Yes.”); id. at 166-67 (Nance admits the job was stressful, but denies that she had
expressed that fact to co-workers).

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that Nance had told several co-employees that “she did not want to work in

registration,” and she consequently told Nance “the position might be too much

pressure because representatives have to contend with the constant stress of high

patient volume.”87 Brown insisted that, “[a]t no point during the meeting did I

indicate I thought Ms. Nance could not perform her job on the basis of any purported

disability or illness.”88

       Indeed, Nance admitted that, prior to the January 11, 2018 meeting during

which Brown offered her the opportunity to resign, to avoid termination, neither

Kristi Calvert nor Heidi Brown had made any negative remark to her about taking

time off work for treatment of the manifestations of her Crohn’s disease.89 Even so,

Nance inexplicably construed Brown’s one-word text-response to one of Nance’s

requests for time off (i.e., “Okay”) as conveying a negative attitude.90

       87
            Doc. no. 25-14 (Heidi Brown Affidavit), ¶ 18 (alteration supplied).
       88
            Id. ¶ 17 (alteration supplied).
       89
          See doc. no. 25-1 (Plaintiff’s Deposition), at 111 (lines 7-13) (“Q. Well, I mean, did
Christy [sic: Kristi Calvert] ever make any negative remarks to you about taking time off work? A.
No. Q. Did Heidi [Brown] ever make any negative comments to you about taking off from work?
A. No. * * *”) (alterations and ellipsis supplied).
       90
            See id. at 111-12, where the following testimony is recorded:

          Q. Did Heidi [Brown] ever make any negative comments to you about taking
       time off work?

          A. No. There was an incident, but I don’t remember. It might be — it’s just the
       way she interpret — you know, like it was an issue when I stated — you know, stated
       I was sick one day.


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       Nance accepted the opportunity to resign her employment,91 and the “Personnel

Action Request – Resignation/Termination” form handed to her by Heidi Brown

stated, in the first section (headed “RESIGNATION – EMPLOYEE to complete”)

that her reason for leaving was: “x Other: reason: Resign in Lieu of Termination.”92

       The second section of that same form, executed by Heidi Brown, stated: that

Nance had “x Resigned in lieu of termination”; that she was “x Eligible for rehire”;

and, that she also was “x Eligible for ETO.”93

       After executing the foregoing form and leaving Brown’s office, Nance walked

to the Hospital’s Human Resources Department and filed a form requesting an

“Intervention.” In the portion labeled “Nature of Complaint,” Nance wrote that, on

January 11, 2018, she had been “scheduled to work at Main Admitting from 5

             Q. Okay. And what did she say that you’re thinking of in response to that?

          A. It was just basically like okay, you know. Like, okay can be either way. You
       know, as in okay, that’s fine or okay, that’s just like whatever.

             Q. Okay. And you took her okay to mean okay, whatever?

          A. No, I didn’t say that. I’m just stating it seemed like it was an issue if I didn’t
       come, so I came.

Id. (alteration and emphasis supplied). Nance admitted she likely was sensitive to the brief, one-
word retort because, a week or so after beginning to work in registration, co-employee Kim Carroll
had told her that “they” (the ubiquitous indefinite pronoun) did not “like you to call out” and,
consequently, she should “watch [her] back.” Id. at 112-13.
       91
            See doc. no. 25-20 (Jan. 11, 2018 Personnel Action Request).
       92
            Doc. no. 29-2 (Initial Jan. 11, 2018 Personnel Action Request), at 2.
       93
            Id.

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am-1:30 pm and normal work hours for today’s date. I worked just half of my shift

[at] Main and done [sic] everything that I was told to do upon other’s [sic] and I went

to GMT building.”94 She than attached an additional, handwritten page stating that

her desired remedy was to be allowed to transfer to another Hospital unit, rather than

forced to resign: i.e.,

               Requested Remedy                                        01/11/18
               I believe the final remedy should be, I should be able to transfer
      out. I believe I’ve exceeded expectation in this current position; and
      also in previous ones held within Huntsville Hospital. I’ve received
      many thanks and appreciation by patients themselves. I received a 5 star
      recognition in the lab department, which is the highest recognition you
      can get and your picture is posted within the lab. I believe I’ve been
      highly professional and positive with patients, as they’ve stated much
      [sic]. With all these previously stated examples, I believe it spoken in
      [sic] itself that I should be giving [sic] a chance to transfer out and
      continue being the polite, professional, and hard working employee I
      am. I thank you for your consideration in listening to my remedy, even
      if it is to be coached [sic].

Doc. no. 29-5 (Request for Human Resources Department Intervention), at 3

(emphasis supplied).

      During her deposition, Nance identified another, much-longer, handwritten

statement about the events that occurred in Heidi Brown’s office on January 11, 2018,

which — she insisted — had been filed together with the documents described




      94
           Doc. no. 29-5 (Request for Human Resources Department Intervention), at 2.

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above.95     The longer, rambling, bordering-upon-incoherent statement reads as

follows:

             On January 11, 2018 I was schedule[d] to work at Main
      Admitting, I had worked there since the beginning of the week when
      Heidi came to the original [department] where I was working which was
      GMT Surgery on Monday 01/08/18 and asked me could I work [at]
      Main, because she was short staff[ed] due to flu, so I told her I didn’t
      mine [sic] helping out and she asked if I could do 40 [hours] this week,
      I arranged for her so she could have coverage. I had came [sic] to work
      all throughout the week and done my job assignments, then Thursday
      01/11/18 approached I worked my schedule[d] hours which was [sic] 5
      am – 1:30 pm, which my normal hours would [have] been 10 am – 3 pm,
      everything had been going smooth [sic] until Heidi came in for work and
      her Rep III, which is her good friend Jennifer and she begin to act
      different and out of odd [sic] Heidi started to help Jennifer out up front
      at the front desk, so Jennifer had come to me and asked me to go get
      signatures which I did, I told her that it would be one minute so I could
      grab the property [sic] supplies, ask [sic] I was getting the items I had to
      go to the bathroom, so I proceeded to go to the restroom, because I have
      Crohn’s.

              So I came back in got my supplies & paperwork for the
      signatures, I left and went and done what I was suppose[d] to do. I came
      back in updated my information and continue[d] to work. Then I came
      out the office and Heidi was telling us about the weather policy and
      asked me if I had my cell phone enable[d] for weather alert through the
      hospital so she helped me set up all my information and gave me a
      verification form to be filled out, after all she knew we was [sic] short
      of staff and asked me could I relieve the girl that worked GMT building
      and also MRI, which he chose not to take a lunch which she approved
      since we was short so I didn’t have to give or relieve his lunch, I went
      in relieved GMT as I left from GMT I was walking back which another
      employee was coming to get me, as I got back to Main I went to get a
      drink in the break room and the next thing I knew or look up Heidi came
      95
           See doc. no. 25-1 (Plaintiff’s Deposition), at 173-75.

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      to the door and said she needed me in her office, so we walked to her
      office and she started on saying you know I have had someone
      investigating your body language today and also I heard or someone
      seen you round your things up & roll your eyes at Jennifer when she
      asked you to go get signatures and I told her I didn’t do anything . . .
      [the remaining part of the copy of this page of the handwritten document
      that was filed is cut off at the bottom] . . . your saying this definitely
      PRE-ASSUMPTION and how are you gone act off of what someone
      came in [sic] told you, and not from what you knew. She said you act
      like [you’re] not happy and your body seemed overwhelming and stated
      she could tell (Heidi). She said she knew my illness and know it can be
      very stressed or stressful on my body. I feel like if she knew it was stress
      on body or she could tell my illness was affecting my job duties, then
      why as a manager would she ask me to work extra hours or coach me
      and assist me on bettering my job and be able to perform and exceed
      expectations. I feel like my illness hasn’t hindered my abilities or skills.
      I’m covered under FMLA and I feel like I have been discriminated
      due to my illness. She stated that I was eligible for rehire and said it
      was nothing personal, but I feel like it was more and the whole
      conversation was base off PRE-ASSUMPTION. I feel like overall it
      should be looked throughout [sic].

Doc. no. 29-6 (Continued Request for Human Resources Department Intervention),

at 2-4 (underlined and ALL CAP emphasis in original, italicized and boldface

emphasis supplied).

      The rub for the Hospital lies in the fact that, when Nance’s January 11, 2018

“Personnel Action Request – Resignation/Termination” form was stamped as

“ENTERED” in the Hospital’s records on “JAN 12 2018,” the day following the

events described above, it included additional information that was not on the copy

of the document given to Nance at the conclusion of her termination meeting with

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Heidi Brown: that is, the Hospital’s copy stated that Nance had “T Failed [her]

provisional period.”96

      That additional statement of a reason for Nance’s departure was placed on the

Hospital’s copy by Cynthia Traylor, an Employee Relations Specialist. Ms. Traylor’s

Affidavit explained her reasons for doing so, as follows:

              7.    When a hospital employee starts a new position, they are
      placed in a one (1) to six (6) month provisional period, depending on
      performance issues, so that managers can determine if the employee is
      fulfilling the expectations of the position and is a good fit.

            8.     If an employee fails a provision[al] period that failure is
      noted on their electronic human resource record. That record is
      accessible by human resources employees and recruiters.

            9.     After I learned that Nance failed her provisional period, I
      immediately made a notation on her electronic record that she had failed
      due to poor customer service skills.

Doc. no. 25-13 (Cynthia Traylor Affidavit), ¶¶ 7-9 (emphasis and alteration supplied).

      The specific notation that Traylor made on Nance’s electronic record on

January 12, 2018, the day after Nance filed her “Request for Intervention,” read as

follows: “Confidential – Failed Provisional Period due to lack of customer service

skills in Registration. See Heidi Brown for a reference prior to rehire.”97

      Nance testified that she had not been told that she failed her provisional period

      96
           Doc. no. 25-20 (Jan. 11, 2018 Personnel Action Request) (alteration supplied).
      97
           Doc. no. 25-21 (Nance Electronic Human Resources Record), at 2.

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until she spoke to Cynthia Traylor.98 Traylor confirmed that: “After Nance resigned,

she came to me and said Brown was ‘out to get [her]’ but Nance did not mention any

discrimination,” and Traylor “referred Nance to a recruiter who could help her find

a new position in the hospital.”99

      Nance filed a Charge of Discrimination with the EEOC on March 21, 2018, and

alleged that Heidi Brown had forced her to resign because of her “illness.”100

Specifically, she charged that

      on 1/11/18, Heidi asked me to come to her office. Heidi told me that she
      had someone “investigating my body language” and that someone had
      seem [sic] me roll my eyes at Jennifer, a co-worker, when she asked me
      to do something. Heidi said I did not act like I was happy, and that she
      knew my illness could be very stressful on my body and that she could
      tell my illness was affecting my performance of my job duties. I
      responded, asking her why she would ask me to work extra hours for
      her if she thought my illness was affecting my ability to perform my job.
      I told her I didn’t think my illness hindered my abilities or skills to do
      my job. I told her I felt that she was being discriminatory because of my
      illness. Other employees have violated work rules, such as smoking e-
      cigarettes in the building and shopping on the internet on hospital time
      and equipment. [Emphasis supplied.]

             She said she could either terminate me, or I could resign and be
      eligible for rehire. She said that Human Resources would help me find
      another job within the hospital. She presented me with a Personnel
      Action Request form, which was marked “x other: reason: Resign in
      Lieu of Termination.” At no time did I voluntarily resign; Heidi forced

      98
           See doc. no. 25-1 (Plaintiff’s Deposition), at 176-77.
      99
           Doc. no. 25-13 (Cynthia Traylor Affidavit), ¶ 10 (alteration in original).
      100
            See doc. no. 1-1 (EEOC Charge), at 1-2.

                                                  31
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      me to resign. Attached is a copy of the Personnel Action Request -
      Resignation/Termination. [All emphasis in original.]

            I contacted Human Resources immediately and complained about
      Heidi’s discriminatory comments and my forced resignation. I spoke
      with Cynthia Traylor at my exit interview and told her that I was being
      discriminated against. Her response was that she wasn’t being
      judgmental, and that she couldn’t take sides. She essentially ignored my
      complaint of discrimination.

             I have been trying to find another job within the hospital since
      that date, but have been unsuccessful. Human Resources has been doing
      very little to assist me, which I believe is either because of my illness
      and/or in retaliation for complaining of discrimination. Only one person
      in Human Resources has been somewhat helpful, Aqua Wherry, and she
      no longer works there. I send out resumes to job openings and I receive
      no response. (See attached screen photos of jobs I have applied for.)

            Upon information and belief, employees without a disability
      and/or perceived disability were treated better than I was. For instance,
      non-disabled employees are permitted to smoke e-cigarettes or shop on
      the inernet without repercussion, while I was forced to resign for
      allegedly rolling my eyes at someone. Heidi permits a co-worker,
      Matthew, to not take lunch and get paid for that ½ hour, but when she
      required me to work through my lunch, I was not paid.

             Upon information and belief, I have been discriminated against
      because of my disability and/or perceived disability, and have been
      treated disparately, including harassment, hostile working environment,
      failure to accommodate, and constructive discharge, in violation of the
      Americans with Disabilities Act . . . . I complained of the
      discrimination, but nothing was done in response to my complaint. I
      have been retaliated against, either because of my disability and/or in
      retaliation for complaining of discrimination. [Citations omitted,
      emphasis supplied.]

Doc. no. 1-1 (March 21, 2018 EEOC Charge), at 1-2 (bracketed information added

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to the ends of the first, second, and last paragraphs).101

      Nance was interviewed for a position in the Hospital’s Lung Center by Robin

Barksdale, the Center’s Registered Nurse Administrator, on April 23, 2018.102 Nance

was allowed to “shadow” a Lung Center employee the following day,103 and

Barksdale emailed Nance the following job offer on April 27th:

      I would like to offer you a position with our team. Like I said in the
      interview I need someone at the front desk but may play musical chairs
      over time. I would like to offer you the front office position and with
      time we will cross train you for other positions to include the back.
      After you have some experience in the back you can take the
      certification test for CCMA. I will have HR give you a call with an
      offer. Fannie will be the contact person. She is out of the office today
      so it will be next week before you get a call. I hope you have a great
      weekend and we look forward to working with you.

Doc. no. 29-3 (Emails Between Barksdale and Nance), at 2.

      Three minutes after transmitting that job offer to Nance (i.e., at 8:52 a.m. on

April 27, 2018), Barksdale sent an email to Hospital Recruiter Fannie Proctor, and

asked that she extend an official offer of employment to Nance.

      I believe that Misty passed me a resume for Tiara Nance. I have
      interviewed her and she came to shadow the front desk yesterday. We
      believe she would be a good fit also since the other did not work out.
      Could you pull her and make an offer. My plans for her are to start her

      101
         Note: Nance verified the Charge on March 21, 2018, but the EEOC stamped it
“Received” on March 28, 2018.
      102
            See doc. no. 1-1 (EEOC Charge), at 5.
      103
            Id.; see also doc. no. 25-22 (Robin Barksdale Affidavit), ¶ 4.

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      out at the front desk since that is what I need at the moment more than
      anything. I will cross train her for scheduling and back MA. So at some
      point her role may change but I will keep you in the loop. Thanks for
      everything!!

Doc. no. 25-23 (Emails Between Barksdale and Proctor), at 3.

      Fannie Proctor reviewed Nance’s human resources file, and responded to Robin

Barksdale later that same day, saying:

      I looked at Tiara’s file and noticed she was let go in her provisional
      period back in January. The HR record shown below has comments
      from her previous manager. I have not called to make the offer because
      I wanted you to be aware. Do you want to reach out to Heidi in
      registration? I know you said you were putting her at your front desk
      and it may not be a bad idea to talk to Heidi. Let me know your
      thoughts.

Id. at 2. Barksdale’s response to Proctor was as expressive as it was terse: “oh

NO!!!! ok let me put a hold on this for now. thank you for catching that.” Id. (all

caps and omission of initial capitals in original). Barksdale immediately transmitted

an email to Nance, saying:

      I wanted to touch base with you and let you know of a new development
      in my hiring process. Due to unforeseen circumstances I am going to
      have to put a hold on making you an offer next week. I am hoping to be
      able to do it soon, so please be patient with us. I will let you know
      ASAP.

Doc. no. 29-3 (Emails Between Barksdale and Nance), at 3.

      Nearly two months later, on Thursday, June 14, 2018, Nance sent an email to



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Barksdale, asking about the status of her job offer:

              I hope all has been well and I no [sic] it’s been over a month or
       longer since the last update, I know your [sic] a busy lady so I didn’t
       want to bother you so much, but I wanted to check the status of my job
       offer and see how long will it be or how long will it take for your
       process to be completed? I’m very interested and still looking forward
       to coming apart [sic] of the team, that’s why I’m reaching out to check
       the status. I look forward hearing from you soon and I hope you have
       a good day!!!

Id. at 4. Barksdale’s reply stated that: “All positions have been filled at the current

time. I will hold on to your resume for upcoming positions.” Id.

       Barksdale testified that she “did not speak to Cynthia Traylor or Heidi Brown

about Nance’s job offer,” and that she “was not aware that Nance had filed an EEOC

Charge at the time or had allegedly made any complaints of discrimination when I

decided not to offer her the position.”104 Nance also did not tell Barksdale that she

had filed an EEOC Charge,105 and she has no evidence of a conversation by either

Heidi Brown or Cynthia Traylor with Robin Barksdale about her potential

employment in the Hospital’s Lung Center.106 Moreover, Nance affirmed that she

does not contend that Barksdale discriminated against her based upon a disability,

       104
            Doc. no. 25-22 (Robin Barksdale Affidavit), ¶¶ 8-9. See also doc. no. 25-14 (Heidi Brown
Affidavit) ¶ 21 (“I have not had any involvement in Nance being hired by a different department.”);
id. ¶ 24 (“I was not aware that Robin Barksdale was considering hiring Nance for a position and did
not have any discussions with her about Nance.”).
       105
          See doc. no. 25-1 (Plaintiff’s Deposition), at 178 (“Q. Did you ever tell Ms. Barksdale
that you had filed an EEOC charge? A. No.”).
       106
             Id. at 178-80.

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because “Ms. Barksdale was not aware of anything.”107

          Heidi Brown and Cynthia Traylor also testified that they had no knowledge of

Robin Barksdale’s job offer to Nance, and neither discouraged Barksdale from hiring

her.108

          Nance amended her EEOC Charge on May 14, 2018, and alleged that

Barksdale had rescinded her job offer in retaliation for her original EEOC charge.

                 On April 19, 2018, after applying for a position with the
          Huntsville Hospital Lung Center, the nurse administrator contacted me
          to set up an appointment. The interview was conducted on April 23,
          2018. I was asked to shadow an employee on Thursday, April 24, 2018.
          The nurse administrator officially offered me the position on Friday,
          April 27, 2018, to begin the following week. I was told I would be cross
          trained for other positions. Later that day, I received an email from the
          nurse administrator “placing a hold” on her offer of employment. To
          date, the offer of employment has not been reinstated. (See emails
          attached evidencing the above facts.)

                 Upon information and belief, the job offer was withdrawn in
          retaliation for filing a charge of discrimination with the EEOC, in
          violation of the Americans with Disabilities Act . . . . I have been
          retaliated against, either because of my disability and/or in retaliation for
          complaining of discrimination.

          107
                Id. at 193.
          108
          See doc. no. 25-14 (Heidi Brown Affidavit), ¶ 24 (“I was not aware that Robin Barksdale
was considering hiring Nance for a position and did not have any discussions with her about
Nance.”); doc. no. 25-13 (Cynthia Traylor Affidavit), ¶ 11 (“Nance must interview with the
individual managers supervising the position for which she applies. I have not had any involvement
with Nance being hired by a different department, and I have not discourage any other department
from hiring Nance.”); id. ¶ 12 (“I did not communicate with Robin Barksdale about Nance when she
was considering Nance for a position at the Lung Center. I did not have any input into Barksdale’s
decision to withdraw the job offer to Nance.”).

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Doc. no. 1-1 (May 14, 2018 Amended EEOC Charge), at 5 (emphasis supplied,

citations omitted).109 The EEOC dismissed the charge, with notice of Nance’s right

to sue, on November 29, 2018.110 This suit followed.

                                     III. DISCUSSION

A.    Discrimination Under the Americans with Disabilities Act

      Count One of Nance’s complaint is based upon the Americans with Disabilities

Act of 1990, 42 U.S.C. § 12101 et seq. (“ADA”). To recover, Nance must prove that

the Hospital intentionally discriminated against her because of a disability. “In the

absence of direct evidence of discrimination, a plaintiff may establish a prima facie

case of an ADA violation through circumstantial evidence using the familiar burden-

shifting analysis employed in Title VII employment discrimination cases.” Wascura

v. City of South Miami, 257 F.3d 1238, 1242 (11th Cir. 2001); see also, e.g., Hilburn

v. Murata Electronics N. Am., Inc., 181 F.3d 1220, 1226 (11th Cir. 1999) (“The

familiar burden-shifting analysis of Title VII employment discrimination actions is

equally applicable to ADA claims.”) (citing Moses v. Am. Nonwovens, Inc., 97 F.3d

446, 447 (11th Cir. 1996)).

      In order to establish a prima facie case of disability discrimination, a plaintiff

      109
          Nance verified her Amended EEOC Charge on May 14, 2018, but the EEOC stamped it
as “Received” on May 18, 2018.
      110
            See doc. no. 1-2 (EEOC Dismissal and Notice of Rights).

                                               37
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must show: (1) that she has a “disability” within the meaning of the ADA; (2) that she

is a “qualified individual with a disability,” meaning that she can perform the

essential duties of the employment position she held or sought, with or without

reasonable accommodation being made by the employer;111 and (3) she suffered an

adverse employment action because of her disability. See, e.g., Lewis v. City of Union

City, Georgia, 934 F.3d 1169, 1179 (11th Cir. 2019).112

       If a plaintiff establishes all elements of a prima facie case, the burden then

shifts to the employer “to come forward with legitimate non-discriminatory reasons

for its actions . . . .” Stewart v. Happy Herman’s Cheshire Bridge, Inc., 117 F.3d

1278, 1287 (11th Cir. 1997) (citing Goldsmith v. City of Atmore, 996 F.2d 1155, 1163

(11th Cir. 1993)). “The plaintiff then must demonstrate that [she] will be able to

establish at trial that the non-discriminatory reasons proffered by the employer are

       111
           See 42 U.S.C. § 12111(8) (defining a “qualified individual” as “an individual who, with
or without reasonable accommodation, can perform the essential functions of the employment
position that such individual holds or desires”); see also 29 C.F.R. § 1630.2(m) (“The term
‘qualified,’ with respect to an individual with a disability, means that the individual satisfies the
requisite skill, experience, education and other job-related requirements of the employment position
such individual holds or desires and, with or without reasonable accommodation, can perform the
essential functions of such position.”).
       112
           Other Eleventh Circuit opinions to the same effect include, e.g., Mazzeo v. Color
Resolutions International, LLC, 746 F.3d 1264, 1268 (11th Cir. 2014); Holly v. Clairson Industries,
L.L.C., 492 F.3d 1247, 1255-56 (11th Cir. 2007); Lucas v. W.W. Grainger, Inc., 257 F.3d 1249, 1255
(11th Cir. 2001); Reed v. Heil Co., 206 F.3d 1055, 1061 (11th Cir. 2000); Davis v. Florida Power
& Light Co., 205 F.3d 1301, 1305 (11th Cir. 2000); LaChance v. Duffy’s Draft House, Inc., 146 F.3d
832, 835 (11th Cir. 1998); Doe v. Dekalb County School District, 145 F.3d 1441, 1445, 1454 (11th
Cir. 1998); Stewart v. Happy Herman’s Cheshire Bridge, Inc., 117 F.3d 1278, 1285 (11th Cir. 1997)
(citing Morisky v. Broward County, 80 F.3d 445, 447 (11th Cir. 1996)).

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merely a pretextual ruse designed to mask [the discrimination].” Id. (citing Isenbergh

v. Knight-Ridder Newspaper Sales, Inc., 97 F.3d 436, 440 (11th Cir. 1996)).

       1.      First prima facie element: does the plaintiff have a “disability”?

       The ADA defines the concept of a “disability” three ways — that is, as

including any person:          (A) who has “a physical or mental impairment that

substantially limits one or more [of the] major life activities” of such person; or (B)

who has a “record of” such an impairment; or (C) who is “regarded as” having such

an impairment. 42 U.S.C. § 12102(1) (alteration supplied); see also 29 C.F.R. §

1630.2(g). “An individual is deemed to be ‘disabled’ for purposes of the ADA if he

[or she] satisfies any one of these three enumerated definitions.” Gordon v. E.L.

Hamm & Assocs., Inc., 100 F.3d 907, 911 (11th Cir. 1996) (alteration supplied).

       Nance asserts that she suffers from a physical impairment that “substantially

limits” one or more of her “major life activities,” see 42 U.S.C. § 12102(1)(A),113 or

       113
           The phrase “substantially limits” is not defined by the Act, but implementing regulations
state that the term “shall be construed broadly in favor of expansive coverage.” 29 C.F.R. §
1630.2(j)(1)(i). The regulations further state:

               (ii) An impairment is a disability within the meaning of this section if it
       substantially limits the ability of an individual to perform a major life activity as
       compared to most people in the general population. An impairment need not prevent,
       or significantly restrict, the individual from performing a major life activity in order
       to be considered substantially limiting. Nonetheless, not every impairment will
       constitute a disability within the meaning of this section.

29 C.F.R. § 1630.2(j)(1)(ii). The EEOC further instructs that “[t]he primary object of attention in
cases brought under the ADA should be whether covered entities have complied with their

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alternatively, that she was “regarded as” having such an impairment by her Hospital

supervisors.114 See id. § 12102(1)(C).

                a.      “Substantially limits one or more major life activities”

        The term “major life activities” includes, but is not limited to, “caring for

oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating,

thinking, communicating, and working.” 42 U.S.C. § 12102(2)(A).115 A “major life

activity” can also include “the operation of a major bodily function,” like digestive

or bowel functions. See 42 U.S.C. § 12102(2)(B).116 In this case, Nance asserts that

when she is experiencing a flare-up of her Crohn’s disease, she is substantially

limited in her ability to care for herself, to eat, and to work.117



obligations and whether discrimination has occurred, not whether an individual’s impairment
substantially limits a major life activity.” 29 C.F.R. § 1630.2(j)(1)(iii).
        114
           See doc. no. 1 (Complaint), ¶ 31. Nance also alleges in the complaint that she had a record
of disability, but does not address that element in any briefing.
        115
            See also 29 C.F.R. § 1630.2(i)(1)(i) (“Major life activities include, but are not limited to:
(i) Caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking, standing,
sitting, reaching, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,
communicating, interacting with others, and working.”).
        116
             See also 29 C.F.R. § 1630.2(i)(1)(ii) (“Major life activities include, but are not limited to:
. . . (ii) The operation of a major bodily function, including functions of the immune system, special
sense organs and skin; normal cell growth; and digestive, genitourinary, bowel, bladder, neurological,
brain, respiratory, circulatory, cardiovascular, endocrine, hemic, lympathic, musculoskeletal, and
reproductive functions.”) (emphasis supplied).
        117
         See doc. no. 25-1 (Plaintiff’s Deposition), at 82; see also doc. no. 29-8 (FMLA Medical
Leave Certificate), at 5.

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      There is no dispute that Nance experiences flare-ups of her Crohn’s disease.

The Hospital, however, questions whether Crohn’s disease qualifies as an impairment

under the ADA; and, if so, whether the flare-ups impose substantial limitations upon

any of Nance’s major life activities.

      Initially, the Hospital argues that Crohn’s disease is not a per se disability.118

See, e.g., Ezell v. Renal Care Grp., Inc., No. 5:17-CV-002-TBR-LLK, 2018 WL

2054562, at *12 (W.D. Ky. May 2, 2018) (granting summary judgment to employer

where employee with Crohn’s disease and irritable bowel syndrome failed to “explain

how her impairments substantially limit her ability to perform a major life activity”);

Wedel v. Petco Animal Supplies Stores, Inc., No. 13-CV-2298, 2015 WL 859072, at

*4 (D. Kan. Feb. 27, 2015) (holding plaintiff was not substantially limited by Crohn’s

disease where she was able to return to work after surgery with only minor

accommodations).

      Neither of the foregoing cases is binding authority, nor does either hold

categorically that Crohn’s disease does not qualify as an “impairment.” Instead, both

opinions simply focus upon the question of whether, in the specific circumstances of

each case, the plaintiff had established that one or more of his or her major life

activities had been substantially limited by the disease. If a person who suffers from


      118
            Doc. no. 24 (Defendant’s Brief), at 18.

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Crohn’s disease or another gastrointestinal disorder is substantially limited in his or

her ability to perform one or more major life activities due to the illness, then that

person could be considered a person with a qualifying disability. See Hardy v.

Alabama Department of Industrial Relations, No. 2:11-cv-230-SRW, 2013 WL

1336726, at *8 (M.D. Ala. Mar. 29, 2013) (denying summary judgment where the

plaintiff had gastrointestinal issues that substantially limited her ability to work).

Therefore, a reasonable jury could find that Nance’s Crohn’s disease qualifies as “an

impairment.”

         The Hospital alternatively contends that, even if Nance’s Crohn’s disease

qualifies as an impairment, it does not substantially limit her performance of a major

life activity.119 The Hospital argues that Nance’s flare-ups did not limit her ability to

work, drive, sit, stand, talk, walk, care for her children, bathe herself, or sleep — all

examples of major life activities.120 Nance, however, asserts that, when she has a

flare-up, the only thing she can do is rest, and she requires assistance in caring for her

children.121 It even is difficult for her to bathe herself.122 When she is nauseous or




         119
               Id. at 19.
         120
               Id.
         121
               Doc. no. 29 (Plaintiff’s Brief), at 15. See also doc. no. 25-1 (Plaintiff’s Deposition), at
83-84.
         122
               Doc. no. 25-1 (Plaintiff’s Deposition), at 84.

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vomiting, she cannot eat: an activity explicitly listed as a major life activity.123 Her

physician noted that Nance should not work during a flare-up.124 Although the

evidence demonstrates that it is possible for Nance to work during a Crohn’s flare-up,

as she had to do before becoming eligible for FMLA leave, it is likely more difficult

for her “as compared to most people in the general population.” 29 C.F.R. §

1630.2(j)(1)(ii).

      The Hospital also contends that Nance’s flare-ups are infrequent.125 Nance

testified that her flare-ups occur every two or three months, and last two to three days

at a time.126 Congress broadened the coverage of the Americans with Disabilities Act

when enacting the ADA Amendments Act of 2008 (“ADAAA”), Pub. L. No. 110-

325, 122 Stat. 3553 (2008), effective Jan. 1, 2009. See 42 U.S.C. § 12101 note

(2008) (Findings and Purposes); see also 29 C.F.R. § 1630.1(c)(4) (“The primary

purpose of the ADAAA is to make it easier for people with disabilities to obtain

protection under the ADA.”); 29 C.F.R. § 1630.2(j)(1)(i) (“‘Substantially limits’ is

not meant to be a demanding standard.”). The revised regulations specifically state

that “[a]n impairment that is episodic or in remission is a disability if it would


      123
            Id. at 82.
      124
            Doc. no. 29-8 (FMLA Medical Leave Certificate), at 5.
      125
            Doc. no. 34 (Defendant’s Reply Brief), at 5.
      126
            See doc. no. 25-1 (Plaintiff’s Deposition), at 81-82.

                                                  43
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substantially limit a major life activity when active.” 29 C.F.R. § 1630.2(j)(1)(vii)

(emphasis supplied). Thus, the ADAAA revisions make clear that episodic illnesses

can qualify as disabilities as long as they substantially limit a major life activity when

present. Id.

      In summary: the flare-ups experienced by Nance when her Crohn’s disease is

active limit at least one major life activity (eating); episodic conditions are included

in the definition of a disability; and Nance has offered evidence on the “severity,

frequency, and duration of these episodes.” See Lewis, 934 F.3d at 1180. Therefore,

a genuine issue of material fact exists as to whether Nance has a disability recognized

by the ADA.

               b.   “Regarded as”

      Nance also contends that the Hospital “regarded” her as having a disability

covered by the ADA. Prior to the ADA Amendments Act of 2008, Nance would have

been required to show that the Hospital not only regarded her as having an

impairment, but also that the defendant perceived that impairment as substantially

limiting one or more of her major life activities. See Adkison v. Willis, 214 F. Supp.

3d 1190, 1196 (N.D. Ala. 2016) (citing Rossbach v. City of Miami, 371 F.3d 1354,

1360 (11th Cir. 2004)). Under the current, amended version of the ADA, Nance must

only establish that defendant perceived her as having a physical or mental

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impairment, regardless of whether the impairment “is perceived to limit a major life

activity.” Id. at 1196-97 (quoting 42 U.S.C. § 12102(3)(A)); see also Cooper v. CLP

Corp., No. 2:13-cv-02152-JEO, 2015 WL 9311964, at *4 (N.D. Ala. Dec. 23, 2015)

(quoting Rubano v. Farrell Area Sch. Dist., No. 11-1574, 2014 WL 66457, at *11

(W.D. Pa. Jan. 8, 2014) (“After the 2008 amendments to the ADA definition of

disability, all that an ADA plaintiff must show to raise a genuine issue of material fact

for the ‘regarded as’ prong is that a supervisor knew of the purported disability.”)).

        The person considered to be the “employer” for purposes of this prong of the

definition is usually the one “who actually made the allegedly discriminatory

decision.” Mancini v. City of Providence by & through Lombardi, 909 F.3d 32, 46

(1st Cir. 2018). In this case, the employer in question would be Heidi Brown.

Therefore, Nance must present substantial evidence that Brown actually perceived

Nance to have an impairment as defined under the ADA.

        Nance contends that the statements she alleges Brown made about the job

being “stressful on her body,” and about that stress making it difficult for Nance to

perform her work duties, demonstrated that Brown “regarded” Nance as having an

impairment.127 That comment is the only evidence Nance offers.

        The Hospital argues that “the vague comment Nance alleges Brown made about

        127
          See doc no. 29 (Plaintiff’s Brief), at 15-16; see also doc. no. 25-1 (Plaintiff’s Deposition),
at 162-63, 165-66, 187.

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the position being stressful on Nance does not amount to direct evidence of

discrimination.”128 Defendant also contends that the evidence that Ms. Brown “hired

or retained an employee despite knowledge of the impairment demonstrates the

[employer] was not biased against the employee and did not view the employee as

disabled.”129 See Cunningham v. Nordisk, 615 F. App’x 97, 100 (3d Cir. 2015)

(finding no evidence defendant regarded plaintiff as disabled where defendant

integrated plaintiff back to full-time status, rated her as “Meets Expectations” on her

annual performance review, and gave her a raise and bonus); Tyndall v. Nat’l Educ.

Ctrs., Inc. of Cal., 31 F.3d 209, 215 (4th Cir. 1994) (finding a strong inference that

termination was not motivated by bias where employer hired plaintiff despite full

knowledge of disability).

      Indeed, it is undisputed that Brown hired Nance with full knowledge of her

Crohn’s disease, and of her need for time off for treatment when experiencing flare

ups.130 Further, Brown noted that the Nance’s work often met expectations, and

extended her provisional period in order to allow her an additional opportunity to

successfully complete her provisional requirements.131 Brown also never made any


      128
            Doc. no. 34 (Defendant’s Reply Brief), at 7.
      129
            Doc. no. 24 (Defendant’s Brief), at 20.
      130
            See doc. no. 25-1 (Plaintiff’s Deposition), at 104-05.
      131
            See id. at 151-52; see also doc. no. 25-18 (Provisional Performance Appraisal), at 3.

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negative remarks to Nance about taking time off work when she was sick.132

      There is little evidence that Brown perceived Nance’s Crohn’s disease to be a

disability. However, Brown’s knowledge of the disease alone is enough to create a

genuine issue of material fact as to whether Brown regarded Nance as disabled.

Regardless, the question still remains whether Brown asked Nance to resign (or be

fired) because of her actual impairment.

      2.        Unlawful Discrimination

      It is undisputed that Nance suffered an adverse employment action when she

was asked to resign in lieu of termination. See 42 U.S.C. § 12112(a). The question

is whether Nance was asked to resign because of her disability, real or perceived.

      The Hospital denies that Nance’s Crohn’s disease was the “but for” cause of

the adverse employment action.               “[A] plaintiff complaining of discriminatory

discharge under the ADA must show that his or her employer would not have fired

him but for his actual or perceived disability.” Savage v. Secure First Credit Union,

107 F. Supp. 3d 1212, 1217 (N.D. Ala. 2015) (quoting Serwatka v. Rockwell

Automation, Inc., 591 F.3d 957, 962 (7th Cir. 2010)) (boldface in original). This

standard requires Nance to demonstrate that her qualifying disability was the

determinative factor in her termination. See Andrews v. City of Hartford, 700 F.

      132
            See doc. no. 25-1 (Plaintiff’s Deposition), at 111-12.

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App’x 924, 927 (11th Cir. 2017).

      The Hospital contends, and Nance acknowledged during her deposition, that

she was terminated for failing her provisional period.133 Once the Hospital articulated

a legitimate non-discriminatory reason for terminating Nance, the burden shifted back

to Nance to demonstrate that the proffered reason was mere pretext for intentional

discrimination. See Stewart, 117 F.3d at 1287; Chapman, 229 F.3d at 1030.

      Nance cannot prove pretext simply by disagreeing with the defendant’s stated

reason for termination. Nance can carry that burden only by demonstrating “such

weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in the

employer’s proffered legitimate reasons for its action that a reasonable factfinder

could find them unworthy of credence.” Combs v. Plantation Patterns, 106 F.3d

1519, 1543 (11th Cir. 1997) (quoting Sheridan v. E.I. duPont de Nemours & Co., 100

F.3d 1061, 1072 (3d Cir. 1996)) (internal quotation marks omitted).

      Nance does not identify any specific evidence in her brief that the Hospital’s

proffered, legitimate, non-discriminatory reason was actually pretext for

discrimination. She simply asserts, without specificity, that there is “ample evidence”

that defendant’s proffered reason is pretextual. Even so, the court can still analyze

any evidence offered in support of the prima facie case. See Combs, 106 F.3d at 1528


      133
            See id. at 176.

                                          48
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(holding that, in the pretext analysis, the plaintiff must be afforded the opportunity

to “come forward with any evidence, including the previously produced evidence

establishing the prima facie case, sufficient to permit a reasonable factfinder to

conclude that the reasons given by the employer were not the real reasons for the

adverse employment decision.”) (citations omitted) (emphasis supplied).

      The only evidence of discrimination that Nance offers in the prima facie case

is Brown’s alleged comment about the work being “stressful on Nance’s body.”134

That alleged statement is not enough to constitute discrimination, and it certainly is

not enough to demonstrate that defendant’s proffered legitimate, non-discriminatory

reasons for the adverse employment action Nance suffered are pretext for disability

discrimination. The evidence points to Brown and Calvert jointly deciding to ask

Nance to resign because of her multiple violations of the Standards of Behavior.

Even if Nance’s claims that she did not violate those standards are true, “[a]n

employer who fires an employee under the mistaken but honest impression that the

employee violated a work rule is not liable for discriminatory conduct.” Damon v.

Fleming Supermarkets of Fla., 196 F.3d 1354, 1363 (11th Cir. 1999). Nance

admitted that Brown was told that she had “rolled her eyes,” and refused to go to

another floor of the Hospital to obtain the signatures of patients who had been

      134
            See id. at 162-63, 165-66, 187.

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directly admitted to a unit without going through the Registration desk. Thus, it does

not matter that Nance disputes whether her actions were precisely like the events that

had been related to Brown.135 Additionally, Nance was on notice after her December

22, 2017 “Provisional Performance Appraisal” that “[a]ny further negative behavior,

comments or not adhering to Huntsville Hospital Standards of Behavior [would]

result in termination.”136 Accordingly, defendant is entitled to summary judgment on

Nance’s disability discrimination claim.

B.     Retaliation Under the Americans with Disabilities Act

       Nance did not plead a claim for retaliation under the ADA as a separate count

of her complaint.137 Instead, she tucked that assertion into her first count:

                              COUNT ONE
               DISCRIMINATION UNDER THE ADA, AS AMENDED

             30. Plaintiff, Tiara Nance, re-alleges and incoporates
       paragraphs 1-29 above as if pleaded separately herein.

              31. During her employment, plaintiff suffered from a disability
       in that she had a physical impairment that substantially limited one or
       more of her major life activities, had a record of such impairment, and/or

       135
             See id. at 161.
       136
          Doc. no. 25-18 (Provisional Performance Appraisal), at 3 (alterations supplied). Nance
also acknowledged on that form that she was “not eligible to transfer to another position within HH
Health System until [she had] satisfactorily completed one year of service in [her] current position
or [she had] obtained [her] manager’s permission.” Id. at 4 (alterations supplied).
       137
         Plaintiff’s Complaint state only three Claims: i.e., Count One alleges “Discrimination
Under the ADA, as amended”; Count Two states a claim for “Interference in Violation of the
FMLA”; and Count Three asserts “Retaliation in Violation of the FMLA.”

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       was regarded as having such impairment. Defendant discriminated
       against Tiara Nance in the terms and conditions of her employment
       based upon her disability and/or perceived disability, including
       constructive discharge.

             32. Defendant discriminated against Tiara Nance because of
       her disability and/or perceived disability, when it prevented and/or
       refused to rehire her in another position within the Huntsville Hospital
       system after engaging in federally protected activity.

Doc. no. 1 (Complaint), at 8 (emphasis supplied).138

       The Hospital argues that Nance’s vague assertion that it “discriminated

against” her under the ADA when Robin Barksdale withdrew the offer to hire Nance

to a position in the Lung Center after Nance engaged “in federally protected

activity”139 is not sufficient to state a separate claim for retaliation.140

       The specificity of pleadings filed in federal court are governed primarily by

Federal Rules of Civil Procedure 8141 and 10.142

       138
          On the contrary, the ADA retaliation claim is clearly stated in her EEOC Charge of
Discrimination. See doc. no. 1-1 (EEOC Charge), at 2 (“I have been retaliated against, either
because of my disability and/or in retaliation for complaining of discrimination.”); see also id. at 5
(same).
       139
             Doc. no. 1 (Complaint), ¶ 32 (emphasis supplied).
       140
           Doc no. 24 (Defendant’s Brief), at 25 n.3 (“Nance did not plead a retaliation claim as a
separate court and thus has not stated a claim for retaliation. Knabe v. Boury Corp., 114 407, 408
[n.1] (3d Cir. 1997) (refusing to address employee’s retaliation claim that she failed to plead as a
count in her complaint). Rather, Nance merely references, as part of her [ADA] discrimination
claims, that Huntsville Hospital refused to rehire her for ‘engaging if [sic: in] federally protected
activity.’ (Doc. 1 at ¶ 32). Huntsville Hospital only addresses this claim out of an abundance of
caution.”) (alterations supplied).
       141
             Rule 8(a) states that:

                 A pleading that states a claim for relief must contain: (1) a short and plain

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       The purpose of Rule 8 is to provide a defendant notice of the claim and
       the facts supporting it. Grimsley v. Marshalls of MA, Inc., 284 F. App’x
       604, 610 (11th Cir. 2008) (“The point [of Rule 8] is to give the
       defendant fair notice of what the claim is and the grounds upon which
       it rests.”). Rule 10 works in conjunction with Rule 8 by requiring each
       claim “founded on a separate transaction or occurrence to be stated in
       separate counts if needed for clarity.” Id. “These rules work together
       so that [the plaintiff’s] adversary can discern what he is claiming and
       frame a responsive pleading.” Id.

Cajun Steamer Ventures, LLC v. Thompson, 402 F. Supp. 3d 1328, 1336 (N.D. Ala.

2019) (emphasis supplied). While the pleading practices of plaintiff’s attorney

certainly will not be applauded, the Hospital was on notice that Nance might be

asserting an ADA retaliation claim, as demonstrated by the fact that the Hospital

chose to address such a claim in its brief in support of summary judgment — albeit,

only “out of an abundance of caution.”143 Therefore, as justice requires,144 the court


       statement of the grounds for the court’s jurisdiction, unless the court already has
       jurisdiction and the claim needs no new jurisdictional support; (2) a short and plain
       statement of the claim showing that the pleader is entitled to relief; and (3) a demand
       for the relief sought, which may include relief in the alternative or different types of
       relief.
       142
             Rule 10(b) states that

               A party must state its claims or defenses in numbered paragraphs, each
       limited as far as practicable to a single set of circumstances. A later pleading may
       refer by number to a paragraph in an earlier pleading. If doing so would promote
       clarity, each claim founded on a separate transaction or occurrence — and each
       defense other than a denial — must be stated in a separate count or defense.
       [Emphasis supplied].
       143
             Doc no. 24 (Defendant’s Brief), at 25 n.3.
       144
          See Fed. R. Civ. P. 8(e) (“Pleadings must be construed so as to do justice.”); see also id.
8(d)(1) (“No technical form is required.”).

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also will address the elements of an ADA retaliation claim.

       To establish a prima facie retaliation claim under the ADA, a plaintiff must

show: (1) that she engaged, or participated, in statutorily protected expression or

activity; (2) that she subsequently suffered an adverse employment action; and (3)

that there is a causal linkage between the protected expression or activity and the

adverse employment action.145 See Lucas, 257 F.3d at 1260-61 (citing Farley v.

Nationwide Mutaul Ins. Co., 197 F.3d 1322, 1336 (11th Cir. 1999)); Stewart, 117

F.3d at 1287 (citing Goldsmith v. City of Atmore, 96 F.2d 1155, 1163 (11th Cir. 1993)

(explaining prima facie elements of Title VII retaliation claim)).

       To demonstrate a causal linkage, a plaintiff must show “that (1) the decision-

makers were aware of the protected conduct and (2) the protected activity and the

adverse act were not wholly unrelated.” Alansari v. Tropic Star Seafood Inc., 388 F.

App’x 902, 905 (11th Cir. 2010) (citing Shannon v. Bellsouth Telecomm., Inc., 292

F.3d 712, 716 (11th Cir. 2002)). “Close temporal proximity between the protected

activity and the adverse action may be sufficient to show that the two were not wholly

       145
            Note that Nance does not have to prevail on the underlying ADA discrimination claim in
order to establish a prima facie retaliation claim. Cf. Tipton v. Canadian Imperial Bank of
Commerce, 872 F.2d 1491, 1494 (11th Cir. 1989) (holding that a plaintiff “need not prove the
underlying claim of discrimination which led her to protest”; rather, “an employee’s opposition to
discrimination is protected if she could reasonably form a good faith belief that the discrimination
in fact existed.”). See also, e.g., Krouse v. Am. Sterilizer Co., 126 F.3d 494, 502 (3d Cir. 1997) (“An
individual who is adjudged not to be a ‘qualified individual with a disability’ may still pursue a
retaliation claim under the ADA.”).

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unrelated.” Shannon, 292 F.3d at 716-17 (quoting Bass v. Bd. of Cty. Comm’rs,

Orange Cty., Fla., 256 F.3d 1095, 1119 (11th Cir. 2001)).

       Once a plaintiff establishes a prima facie case, the burden shifts to the

defendant “to come forward with legitimate non-discriminatory reasons for its actions

that negate the inference of retaliation.” Stewart, 117 F.3d at 1287 (citing Goldsmith,

996 F.2d at 1163). If the defendant does so, “plaintiff must then demonstrate that

[she] will be able to establish at trial that the employer’s proffered non-discriminatory

reasons are a pretextual ruse designed to mask retaliation.” Id. (citing Isenbergh, 97

F.3d at 440).

       Here, Nance easily meets the first two elements of the prima facie case. She

engaged in statutorily protected activity on January 11, 2018, when she filed an

internal “Request for Intervention” with the Hospital’s Human Resources

Department, and on March 21, 2018, when she executed and mailed a Charge of

Discrimination to the EEOC. She suffered an adverse employment action on April

27, 2018, when Robin Barksdale withdrew her offer to employ Nance for a position

in the Hospital’s Lung Center.146 However, the causal link between those actions is


       146
           See doc. no. 29-3 (Emails Between Barksdale and Nance), at 3 (“Due to unforeseen
circumstances I am going to have to put a hold on making you an offer next week.”). Barksdale
definitively confirmed that Nance would not be offered the position in the Hospital’s Lung Center
on June 14, 2018, when she transmitted the email stating: “Tiara, All positions have been filled at
the current time.” Id. at 4.

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tenuous at best.

       Nance admits that she did not tell Robin Barksdale that she had filed an EEOC

charge.147 Nance also has no evidence to dispute the Hospital’s contention that

Barksdale did not speak with anyone who possessed knowledge of Nance’s EEOC

charge: either on or before April 27, 2018, when Barksdale sent Nance an email

stating that, “[d]ue to unforeseen circumstances,” she had to place a hold on

extending a job offer;148 or on or before June 14, 2018, when Barksdale informed

Nance that the position no longer was available.149

       However, Nance contends that the “close temporal proximity” between her act

of filing a “Request for Intervention” with the Hospital’s Human Resources

Department on January 11, 2018, and Cynthia Traylor’s act of updating Nance’s

personnel file the following day, to reflect that she had failed her provisional period

“due to [her] lack of customer service skills in Registration”150 is sufficient to create

a genuine issue of material fact.151 See Singleton v. Pub. Health Trust of Miami-Dade

Cty., 725 F. App’x 736, 738 (11th Cir. 2018) (“[W]here a decision-maker becomes
       147
          See doc. no. 25-1 (Plaintiff’s Deposition), at 178 (“Q. Did you ever tell Ms. Barksdale
that you had filed an EEOC charge? A. No.”).
       148
             Doc. no. 29-3 (Emails Between Barksdale and Nance), at 3.
       149
          See doc. no. 25-1 (Plaintiff’s Deposition), at 178-80; see also doc. no. 25-22 (Robin
Barksdale Affidavit), ¶ 9 (“I was not aware that Nance had filed an EEOC Charge at the time or had
allegedly made any complaints of discrimination when I decided not to offer her the position.”).
       150
             Doc. 25-21 (Nance Electronic Human Resources Record), at 2.
       151
             See doc. no. 29 (Plaintiff’s Brief), at 18.

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aware of protected conduct, a close temporal proximity between the decision-maker’s

acquisition of that knowledge and an adverse employment action will generally be

enough to create a factual issue on the causation element.”).

       Specifically, Nance argues that Cynthia Traylor possessed actual knowledge

of her protected conduct of filing a “Request for Intervention” with the Hospital’s

Human Resources Department:152 the act that, she alleges, motivated Cynthia Traylor

to annotate Nance’s personnel file with the statement that she had “Failed [her]

provisional period,”153 in order to ensure that she would not be rehired by the

Hospital.154 The statement added to Nance’s personnel file by Traylor is apparently

       152
           If, as Nance alleges in her brief, she handed her “Request for Intervention” directly to
Cynthia Traylor when they met on January 11 or 12, 2018 — see doc. no. 29 (Plaintiff’s Brief), at
17 (citing doc. no. 25-1 (Plaintiff’s Deposition), at 167-69, 173-75) — then Traylor would be
deemed to possess direct knowledge of Nance’s statement that: “I’m covered under FMLA and I feel
like I have been discriminated due to my illness.” Doc. no. 29-6 (Continued Request for Human
Resources Department Intervention), at 4 (emphasis supplied).
        Note well, however: Nance testified that she was not sure whether she gave her “Request
for Intervention” directly to Cynthia Traylor or Aqua Wherry, another employee in the Human
Resources Department. See doc. no. 25-1 (Plaintiff’s Deposition), at 167-69. Either way, the
Hospital contends it has no record of the complaint. See id. at 169.
       153
             Doc. no. 25-20 (Jan. 11, 2018 Personnel Action Request) (alteration added).
       154
           See doc. no. 29 (Plaintiff’s Brief), at 18. Traylor also specifically told Nance during their
meeting that the fact she had failed her provisional period might make others in the hospital wary
of hiring her.

       Q. All right. So I mean, do you understand if somebody else in the hospital was
          going to hire you, if they found out that you had failed your provisional period
          that that would make them not want to hire you?

       A. Yeah, she told me. But she also told me that, you know, I’d been there long
          enough that people can go off their own judge basis.


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what led Robin Barksdale to rescind Nance’s job offer, plausibly linking Traylor’s

action to the ultimate adverse employment action.

       Another question that needs to be addressed, however, is whether Traylor’s

annotation of Nance’s personnel file, which led to the ultimate “adverse employment

action” (i.e., Robin Barksdale’s withdrawal of her job offer to Nance), constitutes an

“adverse employment action” on its own.

              The ADA prohibits a wide variety of adverse employment actions
       when the employer takes those actions for a prohibited reason. [Doe v.]
       Dekalb [Cty. Sch. Dist.], 145 F.3d [1441,] 1447 [11th Cir. 1998)]. “An
       employment action is considered ‘adverse’ only if it results in some
       tangible, negative effect on the plaintiff’s employment.” Lucas v. W.W.
       Grainger, Inc., 257 F.3d 1249, 1261 (11th Cir. 2001). “A tangible
       employment action constitutes a significant change in employment
       status, such as hiring, firing, failing to promote, reassignment with
       significantly different responsibilities, or a decision causing a significant
       change in benefits.” Burlington Indus. Inc. v. Ellerth, 524 U.S. 742, 761
       (1998). . . .

Martin v. Eli Lilly & Co., 702 F. App’x 952, 956 (11th Cir. 2017). The Eleventh

Circuit in Gillis v. Georgia Department of Corrections held that “an evaluation that

directly disentitles an employee to a raise of any significance is an adverse

employment action.” 400 F.3d 883, 888 (11th Cir. 2005). Similarly, a performance

record that directly led to Nance’s inability to be rehired could constitute an adverse

employment action. The close temporal proximity between Nance’s act of filing a


Doc. no. 25-1 (Plaintiff’s Deposition), at 176-77.

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“Request for Intervention” with the Hospital’s Human Resources Department on

January 11, 2018, and Cynthia Traylor’s act of updating Nance’s personnel file on the

following day, to reflect that she had failed her provisional period “due to [her] lack

of customer service skills in Registration,”155 may be sufficient to show that the

protected activity and the adverse employment action were not wholly unrelated.

Accordingly, the court will presume that Nance has established a prima facie case.

       Thus, the burden shifts to the Hospital to articulate a legitimate, non-

discriminatory reason for the adverse employment action of Barksdale’s withdrawal

of her offer to employ Nance in the Hospital’s Lung Center. The Hospital has done

so by consistently stating that Nance was not rehired due to the fact that she had

failed her provisional period.156

       Accordingly, the burden shifts back to Nance, to prove that the Hospital’s

proffered, allegedly non-discriminatory reason is pretextual. To prove pretext,

plaintiff must show “both that the reason was false, and that the discrimination was

the real reason.” St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 515 (1993). Close

temporal proximity between the protected conduct and the adverse employment

action may be evidence of pretext, but it is “insufficient to establish pretext by itself.”


       155
             Doc. 25-21 (Nance Electronic Human Resources Record), at 2.
       156
          See, e.g., doc. no. 25-22 (Robin Barksdale Affidavit), ¶ 7 (“Because Nance had failed her
provisional period in a previous position, I decided not to proceed with Nance’s job offer.”).

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Hurlbert v. St. Mary’s Health Care Systems, Inc., 439 F.3d 1286, 1298 (11th Cir.

2006) (citing Wascura, 257 F.3d at 144-45 (11th Cir. 2001)). Nance offers no other

evidence that the Hospital’s consistently stated reason for not rehiring her is mere

pretext, and the court sees none. The Hospital did not demonstrate any behavior that

is typically evidence of pretext. The Hospital never changed its position, consistently

stating that Nance was asked to resign in lieu of termination for failing her

provisional period in the Registration Unit “due to [a] lack of customer service skills

in Registration.”157 Cf. Hurlbert, 439 F.3d at 1298 (“We have recognized that an

employer’s failure to articulate clearly and consistently the reason for an employee’s

discharge may serve as evidence of pretext.”). Nance admitted that Cynthia Traylor

had forewarned her that the information might lead potential employers within the

Hospital to be wary of hiring her.

             Q. And did you understand [that,] because you were asked to
       resign during the provisional period[,] that you had failed your
       provisional period?

                 A. She made an understanding to me.

                 Q. Ms. Brown explained that to you?

             A. No, she just told me, you know, basically that I didn’t go
       through with — but Ms. Taylor [sic] broke it down and explained it to
       me.

       157
             See id.; and doc. no. 25-21 (Nance Electronic Human Resources Record), at 2 (alteration
supplied).

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             Q. All right. So I mean, do you understand if somebody else in
       the hospital was going to hire you, if they found out that you had failed
       your provisional period that that would make them not want to hire
       you?

              A. Yeah, she told me. But she also told me that, you know, I’d
       been there long enough that people can go off their own judge basis
       [sic].

Doc. 25-1 (Plaintiff’s Deposition), at 176-77 (alterations and emphasis supplied).

       In addition, Cynthia Traylor did not deviate from the Hospital’s standard

operating procedures when entering the “failed provisional period” notation in

Nance’s electronic human resource record.158 See Hurlbert, 439 F.3d at 1299 (“[A]n

employer’s deviation from its own standard procedures may serve as evidence of

pretext.”).

       The legal presumption that hinges on the “close temporal proximity” between

Nance’s January 11, 2018 “Request for Intervention,” and, Traylor’s insertion of a

notation into her electronic record on the following day, cannot change the fact that

all direct evidence uniformly demonstrates that Nance’s job offer was withdrawn

because she had “[f]ailed [her] Provisional Period due to [a] lack of customer service

       158
           See doc. no. 25-13 (Cynthia Traylor Affidavit), ¶ 8 (“If an employee fails a provision
period that failure is noted on their electronic human resources record. That record is accessible by
human resources employees and recruiters.”); id. ¶ 9 (“After I learned that Nance failed her
provisional period, I immediately made a notation on her electronic record that she had failed due
to poor customer service skills.”); id. ¶ 13 (“The electronic human resource record and Nance’s other
personnel records are kept in the regular course of Huntsville Hospital’s business and I certify they
are true and correct copies of the originals.”).

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skills in Registration.”159 Accordingly, the Hospital’s motion for summary judgment

on Nance’s ADA retaliation claim is due to be granted.

C.    Family and Medical Leave Act

      The remaining counts of Nance’s complaint are based upon the Family and

Medical Leave Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”). That Act grants an

eligible employee the right to take up to twelve work weeks of unpaid leave each year

for any one (or more than one) of several reasons specified in the Act, including

“[b]ecause of a serious health condition that makes the employee unable to perform

the functions of the position of such employee.” 29 U.S.C. § 2612(a)(1)(D)

(alteration supplied). The FMLA creates a private right of action against employers

who “interfere with, restrain, or deny the exercise of or the attempt to exercise” rights

provided by the Act. 29 U.S.C. §§ 2615(a)(1), 2617(a); see also, e.g., Nevada

Department of Human Resources v. Hibbs, 538 U.S. 721, 724-25 (2003).

      The Eleventh Circuit has recognized that 29 U.S.C. § 2615(a) “creates two

types of claims: ‘interference claims, in which an employee asserts that his employer

denied or otherwise interfered with his substantive rights under the Act, and

retaliation claims, in which an employee asserts that his employer discriminated

against him because he engaged in activity protected by the Act.’” Hurlbert, 439

      159
            Doc. no. 25-21 (Nance Electronic Human Resources Record), at 2 (alterations supplied).

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F.3d at 1293 (quoting Strickland v. Water Works & Sewer Board of the City of

Birmingham, 239 F.3d 1199, 1206 (11th Cir. 2001)) (emphasis supplied, internal

citations omitted). Nance has asserted both types of claims: Count Two alleges a

claim for “Interference in Violation of the FMLA”; and, Count Three states a claim

for “Retaliation in Violation of the FMLA.”160

      1.         Interference

      To establish an interference claim, “an employee must demonstrate that [she]

was denied a benefit to which [she] was entitled under the FMLA.” Martin v.

Brevard County Public Schools, 543 F.3d 1261, 1267 (11th Cir. 2008) (alterations

supplied); see also 29 U.S.C. § 2615(a)(1); Strickland, 239 F.3d at 1206-07. Nance

need not allege that the employer intended to deny the benefit because the employer’s

motives are irrelevant to an FMLA interference claim. See Hurlbert, 439 F.3d at

1293. In this case, Nance was not denied her FMLA benefit before she was asked to

resign. She received the leave to which she was entitled; she had no difficulty in

requesting or obtaining approval to take FMLA leave;161 and she was never refused

FMLA leave to cover any of her absences due to illness.162

      In addition, Nance’s acts of taking FMLA leave must be the proximate cause

      160
            Doc. no. 1 (Complaint), at 9, ¶¶ 33-36.
      161
            See doc. no. 25-1 (Plaintiff’s Deposition), at 76-77.
      162
            Id. at 198.

                                                  62
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of the employer’s action that interfered with her FMLA leave: in this case, asking

Nance to resign. See Moon v. Kappler, Inc., No. 4:13-CV-1992-VEH, 2015 WL

2381061, at *14 (N.D. Ala. May 19, 2015) (citing Schaaf v. Smithkline Beecham

Corp., 602 F.3d 1236, 1241-43 (11th Cir. 2010)). The Hospital can avoid liability by

demonstrating that Nance was terminated “for a reason wholly unrelated to the FMLA

leave.” Strickland, 239 F.3d at 1208; see also Krutzig v. Pulte Home Corp., 602 F.3d

1231, 1236 (11th Cir. 2010) (“[T]he right to commence FMLA leave is not absolute,

and . . . an employee can be dismissed, preventing her from exercising her right to

commence FMLA leave, without thereby violating the FMLA, if the employee would

have been dismissed regardless of any request for FMLA leave.”) (alteration

supplied); Howard v. U.S. Steel Corp., No. 2:11-CV-01010-KOB, 2014 WL 1042968,

at *24 (N.D. Ala. Mar. 14, 2014) (“If an employer takes an adverse action that has the

effect of preventing an employee from exercising an FMLA right, . . . the employer

will not be liable if it is able affirmatively to prove that it took the adverse action for

a reason unrelated to FMLA leave.”).

       In this case, there is no evidence that Heidi Brown asked Nance to resign

because she was taking FMLA leave.163 There is no evidence that Brown even knew


       163
          See doc. no. 25-1 (Plaintiff’s Deposition), at 198 (“Q. Do you contend that Ms. Brown
wanted to terminate you because of using FMLA leave? A. I’m not really certain about that. Q.
You don’t know? A. I can’t determine – yeah. I can’t determine her actions.”).

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Nance received FMLA leave. Indeed, as discussed earlier in this opinion, despite the

fact that Nance informed Brown during her initial interview that she suffered from

Crohn’s disease,164 Nance did not tell Heidi Brown that she then was on FMLA leave,

and she also acknowledged that Hospital managers, like Ms. Brown, likely did not

have access to FMLA records maintained by a third-party insurance company like

Mutual of Omaha.165 For all of those reasons, defendant is entitled to summary

judgment on Nance’s FMLA interference claim.

       2.      Retaliation

       In order to establish a claim for retaliation under the FMLA, “an employee

must show that [her] employer intentionally discriminated against [her] for exercising

an FMLA right.” Martin, 543 F.3d at 1267 (alterations supplied) (emphasis in

original); see also 29 U.S.C. § 2615(a)(2). Unlike an interference claim, an employee

asserting a retaliation claim “faces the increased burden of showing that [her]

employer’s actions were motivated by an impermissible retaliatory or discriminatory

animus.” Strickland, 239 F.3d at 1207 (citing King v. Preferred Technical Group,

       164
           See doc. no. 25-14 (Heidi Brown Affidavit), ¶ 4 (“I knew that Nance had Crohn’s disease
when I hired her because she volunteered that information in her job interview.”); doc. no. 25-1
(Plaintiff’s Deposition), at 103-05 (where Nance testified that she also told Ms. Brown during her
job interview that she might need time off for intravenous infusions, and the expected dates of such
procedures).
       165
          See doc. no. 25-1 (Plaintiff’s Deposition), at 201-03; see also doc. no. 25-14 (Heidi Brown
Affidavit), ¶ 20 (“I am not involved in approving or granting FMLA leave for employees. I had no
knowledge as to whether Nance was using FMLA leave.”).

                                                 64
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166 F.3d 887, 891 (7th Cir. 1999)) (alteration supplied, internal quotation marks

omitted).

      Where, as here, Nance seeks to prove intentional retaliation with circumstantial

evidence, the court must analyze the case under the familiar McDonnell Douglas

burden-shifting framework. See, e.g., Strickland, 239 F.3d at 1207. Nance bears the

initial burden of presenting sufficient evidence to allow a reasonable factfinder to

determine that she has satisfied the elements of a prima facie case. McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). A prima facie case of retaliation

under the FMLA requires an employee to show: (1) that she engaged in statutorily

protected conduct; (2) she suffered an adverse employment action; and (3) there is a

causal connection between the two events.           See, e.g., Smith v. BellSouth

Telecommunications, Inc., 273 F.3d 1303, 1314 (11th Cir. 2001). If Nance satisfies

those requirements, the burden shifts to the Hospital to articulate a legitimate, non-

retaliatory reason for the adverse employment action. If the Hospital does so, then

the burden shifts back to Nance to demonstrate that the Hospital’s proffered

legitimate, non-retaliatory reasons are actually a mere pretext for retaliation.

McDonnell Douglas Corp., 411 U.S. at 802.

      Here, the Hospital is entitled to summary judgment because Nance cannot

demonstrate a causal linkage between, on the one hand, her exercise of her right to

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FMLA leave, and on the other hand, the fact that she was forced to resign in lieu of

termination and subsequenty not rehired at the Hospital.

       In addition, Nance testified that she was not certain that Brown wanted to fire

her because she took FMLA leave.166 Moreover, Nance admitted that she never told

Heidi Brown or Robin Barksdale about her FMLA leave, and she cannot establish

that either of them knew about her FMLA leave.167

       Even if Nance could establish a prima facie case, the Hospital articulated

legitimate, non-retaliatory reasons for the contested employment action. Brown

forced Nance to resign in lieu of being terminated, after Brown and Calvert jointly

decided that Nance had failed her provisional period,168 and Barksdale withdrew her

job offer when she discovered that Nance had failed her provisional period.169 The

burden then would shift back to Nance, but the claim still would fail because she

cannot prove those legitimate reasons are pretextual if the relevant Hospital personnel

did not have knowledge of her FMLA leave. For these reasons, the Hospital also is

entitled to summary judgment on Nance’s claim for retaliation under the FMLA.



       166
             See doc. no. 25-1 (Plaintiff’s Deposition), at 198.
       167
             See id. at 199-203.
       168
           See id. at 176 (where Nance testified that Ms. Traylor explained that she had been asked
to resign because she failed her provisional period).
       169
          See doc. no. 25-22 (Robin Barksdale Affidavit), ¶ 7; doc. no. 25-23 (Emails Between
Proctor and Barksdale), at 2.

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                               IV. CONCLUSION

      For all of the reasons stated herein, the Hospital’s motion for summary

judgment is due to be granted, and all of Nance’s claims dismissed. A separate Order

consistent with this memorandum opinion will be entered contemporaneously

herewith.

      DONE this 1st day of June, 2020.


                                              ______________________________
                                              Senior United States District Judge




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